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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH CAROLINA

  * * * * * * * * * * * * * * * *
  IN RE: AQUEOUS FILM-FORMING *
  FOAMS PRODUCTS LIABILITY      *             MDL No. 2:18-mn-2873
  LITIGATION                    *
                                *             May 17, 2019
  * * * * * * * * * * * * * * * *

                 REPORTER'S OFFICIAL TRANSCRIPT OF THE
                   STATUS CONFERENCE HELD BEFORE THE
                      HONORABLE RICHARD M. GERGEL
                      UNITED STATES DISTRICT JUDGE
                              MAY 17, 2019
  Appearances:

  For the Plaintiffs:               Fred Thompson
                                    Erin Dickinson
                                    Gale Pearson
                                    Nancy Christensen
                                    David McDivitt
                                    Joshua Cohan
                                    Tope Leyimu
                                    David Hoyle
                                    Dick Ortega
                                    James Ferraro
                                    Charles Crueger
                                    Charles Schaffer
                                    Marie Napoli
                                    Jim Ferraro
                                    Christina Cossich
                                    Michael London
                                    Scott Summy
                                    Phil Cossich
                                    Carla Burke Pickrel
                                    Rebecca Newman
                                    Paul Napoli
                                    Christian Marcum
                                    Rob Bilott
                                    M. Cristina Sanchez
                                    Louise R. Caro
                                    Bill Jackson
                                    Esther Berezofsky
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  For the Defendants:               Mike Olsen
                                    Brian Duffy
                                    Daniel Ring
                                    Liat Rome
                                    Liam Montgomery
                                    Joe Petrosinelli
                                    Sarah Williams
                                    Michael Carpenter
                                    Nicholas Mino
                                    Elizabeth Knauer
                                    Amanda Kitts
                                    David Dukes
                                    Jonathan Handler
                                    Stephen Bell
                                    George Farrell
                                    Natalie Komrovsky
                                    Mara Murphy
  Also Appearing:
                                    Amy Kendall
                                    Marshall Walker
                                    John Sherk
                                    Keri Berman
                                    Molly Craig
                                    Matthew Sinkman
                                    Viola Vetter
                                    Chin-Zen Plotner




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  Proceedings recorded by mechanical stenography using
  computer-aided transcription software.
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9:07AM   1                          (Call to order of the Court.)
9:07AM   2                  THE COURT:    Good morning.        Please be seated.      We are
9:07AM   3      in the matter of the AFFF products liability MDL monthly status
9:07AM   4      conference, 2:18-2873.
9:07AM   5                        Could those counsel who will be speaking here
9:07AM   6      today identify themselves for the record, beginning with
9:07AM   7      plaintiffs' counsel?
9:07AM   8                  MR. THOMPSON:     Your Honor, my name is Fred Thompson.
9:07AM   9      I'm the plaintiffs' liaison counsel.
9:07AM   10                 MR. LONDON:    Good morning, Your Honor.           Michael
9:07AM   11     London.   I'm one of the plaintiffs' co-lead counsel on the PEC.
9:08AM   12                 MR. SUMMY:    Good morning, Your Honor.           Scott Summy.
9:08AM   13                 THE COURT:    Good to see you again, Mr. Summy.                I
9:08AM   14     didn't see you last night.        You must have been hiding.
9:08AM   15                 MR. SUMMY:    I'm sorry, Judge.         I got in late.
9:08AM   16                 THE COURT:    Yes.
9:08AM   17                 MR. NAPOLI:    Good morning, Your Honor.           Paul Napoli.
9:08AM   18                 THE COURT:    Yes.    Thank you.      Okay.
9:08AM   19                 MR. PETROSINELLI:      Your Honor, good morning.          Joe
9:08AM   20     Petrosinelli, one of the defendant's co-leads.
9:08AM   21                 THE COURT:    I noticed you were there early and stayed
9:08AM   22     late.
9:08AM   23                 MR. PETROSINELLI:      Shall I not do that in the future?
9:08AM   24                 THE COURT:    Oh, no.        That's just fine.     I just
9:08AM   25     observed.
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9:08AM   1                 MR. DUKES:     Good morning, Your Honor.          David Dukes.
9:08AM   2                 THE COURT:     Yes.
9:08AM   3                 MR. OLSEN:     Good morning, Your Honor.          Mike Olsen.    I
9:08AM   4      just stayed late with Joe.
9:08AM   5                 THE COURT:     You wanted to make sure he got home.
9:08AM   6                 MR. DUFFY:     Good morning, Your Honor.          Brian Duffy.
9:08AM   7                 THE COURT:     Yes, sir.      Okay, folks.
9:08AM   8                        And, Ms. Perry, we have folks on the line, I
9:08AM   9      take it?
9:08AM   10                COURTROOM DEPUTY:       Yes, sir.
9:08AM   11                THE COURT:     Good.    Thank you.
9:08AM   12                COURTROOM DEPUTY:       40.
9:08AM   13                THE COURT:     Okay.    Very good.      Okay.   Just confirming
9:08AM   14     of course as a preliminary matter that our next status
9:08AM   15     conference is Friday, June 21st, and I've by previous order
9:08AM   16     given those other dates.
9:09AM   17                       Somebody asked me last night, he says, "Are we
9:09AM   18     not doing August because it is so hot in Charleston?"               And I
9:09AM   19     said, "Well, yeah.      Maybe because if you came in August, you
9:09AM   20     wouldn't ever return.      You'd do it only by phone."
9:09AM   21                       Okay.   Let's go through a couple of these -- I
9:09AM   22     have a checklist of things that I wanted to cover, and then --
9:09AM   23     then I'll -- any other matters that -- that counsel want to
9:09AM   24     raise with me, I'm certainly available to hear that.
9:09AM   25                       ESI protocol.      Mr. Thompson, I've got something
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9:09AM   1      that came over the transom last night as I was walking out the
9:09AM   2      door.
9:09AM   3                MR. THOMPSON:       Yes, sir.      Mr. Duffy conveyed an
9:09AM   4      agreed ESI and a protective order to the Court yesterday that
9:09AM   5      we were able to negotiate in good faith and good humor, and
9:09AM   6      we've gotten those for your consideration.
9:10AM   7                THE COURT:      Thank you.      And I will -- I will review
9:10AM   8      them in due course.      If they look okay to me, I will sign them,
9:10AM   9      and if I have any questions, we'll -- you know, I'll address
9:10AM   10     them with counsel if I have any questions or concerns.
9:10AM   11                       Talk to me about fact sheets.            Where are we on
9:10AM   12     developing fact sheets?
9:10AM   13               MR. THOMPSON:       Judge, if I could go ahead and
9:10AM   14     introduce Mr. London, who -- let me preface it by saying I went
9:10AM   15     to see Hamilton, and I saw the thing that said, "Talk less,
9:10AM   16     smile more."
9:10AM   17               THE COURT:      Yes.
9:10AM   18               MR. THOMPSON:       So I'm going to try to talk less.            So
9:10AM   19     let me just hand it --
9:10AM   20               THE COURT:      He hasn't see Hamilton yet.
9:10AM   21               MR. THOMPSON:       But we have been negotiating at a
9:10AM   22     strong pace, but let me let Mr. London --
9:10AM   23               THE COURT:      Let me hear about it, because I think it
9:10AM   24     ties, I know, Mr. London, into sort of discovery strategy and
9:10AM   25     everything else, right, I mean about how you organize
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9:10AM   1      discovery?
9:11AM   2                MR. LONDON:     I think so, Your Honor.         And I think --
9:11AM   3      I guess there are two components obviously.           There's the
9:11AM   4      plaintiff fact sheets which we received from the defense,
9:11AM   5      excuse me, and we have volleyed back and forth various red
9:11AM   6      lines.   I think the ball is in the defense court to respond to
9:11AM   7      our red lines.    We had a productive meet and confer telephone
9:11AM   8      call yesterday afternoon.       I think we expect some edits back
9:11AM   9      from them.   I don't want to speak for them, but I think we're
9:11AM   10     anticipating to be able to have fact sheets for the Court to
9:11AM   11     approve as a discovery device in the next two weeks.
9:11AM   12               THE COURT:     Good.
9:11AM   13               MR. LONDON:     I think that's what we're shooting for.
9:11AM   14     With the fact sheet, there will also be an implementing order.
9:11AM   15     I'm being mindful now to try and speak less; an implementing
9:11AM   16     order which will govern the parameters of how quickly they need
9:11AM   17     to be responded to.
9:11AM   18               THE COURT:     Right.
9:11AM   19               MR. LONDON:     And obviously there will be two tiers,
9:11AM   20     those plaintiffs who have already filed cases out there, and
9:11AM   21     maybe a little bit more of a lag time for them to answer just
9:12AM   22     to get the momentum going --
9:12AM   23               THE COURT:     Yes.
9:12AM   24               MR. LONDON:     -- and then obviously for future filed
9:12AM   25     cases when this discovery device, the fact sheet, becomes due.
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9:12AM   1                THE COURT:     Yes.
9:12AM   2                MR. LONDON:     We also envision some cure process or if
9:12AM   3      there's an objection or a deficiency, some process within --
9:12AM   4                THE COURT:     I want you to know, I went through this
9:12AM   5      in my prior MDL, and we dismissed them without prejudice
9:12AM   6      allowing them to restore, but they had to come back in with the
9:12AM   7      completed fact sheet.     That's how they came back in.           Not one
9:12AM   8      person did it.    Not a single person came back in.           It was just
9:12AM   9      very interesting.    I don't like disposing on people's --
9:12AM   10     adjudicating their rights on technicalities, and sometimes you
9:12AM   11     worry maybe somebody didn't see it, someone was away, et
9:12AM   12     cetera, but, you know, it's kind of telling that -- and I got
9:12AM   13     to say one of the benefits of the plaintiff fact sheet, it's
9:12AM   14     not just for the defense.       It's for the plaintiffs' PEC, to get
9:12AM   15     people who really have claims, right?          I mean, that those who
9:13AM   16     just on their face don't have claims, you're having to manage
9:13AM   17     this, and it's a burden on you as well.
9:13AM   18               MR. LONDON:     Absolutely, Your Honor.         We agree with
9:13AM   19     that, and I think it makes -- it's important to put a point
9:13AM   20     here.   There are at this point four different and distinct fact
9:13AM   21     sheets.   There's --
9:13AM   22               THE COURT:     Tell me about that.
9:13AM   23               MR. LONDON:     Yeah, I think that's important here.
9:13AM   24     There's obviously the personal injury fact sheets that I think
9:13AM   25     Your Honor has experience with from Lipitor.
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9:13AM   1                THE COURT:      Yes.
9:13AM   2                MR. LONDON:      And is far more common in these
9:13AM   3      contexts, and those will be addressed.           Those plaintiffs
9:13AM   4      alleging personal injury claims and medical backgrounds, health
9:13AM   5      histories and whatnot.
9:13AM   6                        There's also fact sheets, a separate fact sheet
9:13AM   7      for those plaintiffs claiming property damage.
9:13AM   8                THE COURT:      Okay.
9:13AM   9                MR. LONDON:      And that's obviously a very distinct
9:13AM   10     type of question.
9:13AM   11               THE COURT:      It is.
9:13AM   12               MR. LONDON:      There's also a plaintiff fact sheet
9:13AM   13     designed and designated for the plaintiffs, the water
9:13AM   14     providers, both government and private.
9:13AM   15               THE COURT:      We're going to talk about that, because
9:13AM   16     the provider claims are a distinct class of claims all to
9:14AM   17     themselves, have different sort of elements you have to prove,
9:14AM   18     and in some ways are not as arduous as some of these other
9:14AM   19     claims are to get to the end of the game on them.
9:14AM   20               MR. LONDON:      We agree.
9:14AM   21               THE COURT:      But they are preliminary to everybody's
9:14AM   22     claims, but they -- you know, we're able early on to sort out
9:14AM   23     some issues that are very important for all the claims.
9:14AM   24               MR. LONDON:      Agreed.       And then the fourth, Your
9:14AM   25     Honor, category of fact sheet right now that's being discussed
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9:14AM   1      is a plaintiff fact sheet for those plaintiffs who are simply
9:14AM   2      claiming medical monitoring, and they -- I think most of those
9:14AM   3      plaintiffs have come to this Court through various other courts
9:14AM   4      and through the Colorado class cases that were filed for
9:14AM   5      particular reasons there.       So these are really going to be in
9:14AM   6      our view -- and this is still being negotiated -- truncated,
9:14AM   7      simple fact sheets if, in fact, we even need them.
9:14AM   8                THE COURT:     Do they live in an area that's allegedly
9:14AM   9      in a zone of danger or something, right?           I mean, you kind of
9:14AM   10     need to know that.     How long have they lived there?
9:15AM   11               MR. LONDON:     That's really it, because there's no
9:15AM   12     medical history needed, because there's no claimed injury.
9:15AM   13               THE COURT:     Correct.
9:15AM   14               MR. LONDON:     It's where do they live and for how
9:15AM   15     long?   If the zone of danger is here, if they're saying they
9:15AM   16     lived here --
9:15AM   17               THE COURT:     I mean, whether they are in a zone of
9:15AM   18     danger or something will be later determined, but at this point
9:15AM   19     you got to be arguably somewhere nearby, and if you don't or --
9:15AM   20     you know, if you were only there incidentally, then you don't
9:15AM   21     go to some other levels which will require greater effort to
9:15AM   22     establish.    So --
9:15AM   23               MR. LONDON:     Yeah, and that's really what that fact
9:15AM   24     sheet is --
9:15AM   25               THE COURT:     And what I'm interested in, and we've
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9:15AM   1      been reading a little bit about medical monitoring.               Obviously
9:15AM   2      it's not universally recognized, right?            So some of the
9:15AM   3      jurisdictions don't recognize it.           Others do.     And in some ways
9:15AM   4      like the water district, it has elements common to all claims,
9:15AM   5      but you don't -- as you just said, you don't have to prove
9:15AM   6      individual causation, which is in these cases often the most
9:15AM   7      challenging of all proofs.
9:16AM   8                        And -- and let me say this, and we'll get into
9:16AM   9      more of this as we go along in this and others.              I've read
9:16AM   10     everybody's -- thank you for those notebooks.              They were -- you
9:16AM   11     know, how y'all -- nobody gave me the same ten articles, which
9:16AM   12     I found fascinating.       It's like y'all live on two different
9:16AM   13     planets, you know.      And -- but I read everything, and, you
9:16AM   14     know, even the argument that -- you know, that the C8 study
9:16AM   15     doesn't -- C8 studies don't tell us much, if you argue that,
9:16AM   16     all of them say, "There's something going on, and we need more
9:16AM   17     study."   I mean, that's a lot of what they say is, "We need
9:16AM   18     more study."      And I didn't see -- y'all can point it out to me.
9:16AM   19     I didn't see much work out there on -- on exposure that might
9:16AM   20     have not been as intense as the manufacturing plaintiffs in the
9:17AM   21     MDL in Ohio and West Virginia, and it doesn't mean they're not
9:17AM   22     injured, but there's -- the data has focused on a more intense
9:17AM   23     dosing.   I use the term "dosing" as more of a pharmaceutical
9:17AM   24     thing, but it's kind of relevant as how much exposure did you
9:17AM   25     have, and how long did you have it?           That's like probably
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9:17AM   1      important.   May not be.       Maybe just a single exposure may cause
9:17AM   2      injury.   That may show it, but all those studies that the
9:17AM   3      plaintiff showed me, necessarily almost all of them came out of
9:17AM   4      the C8 data, you know, the very important data that came --
9:17AM   5      maybe one of the great benefits of that suit is that you got
9:17AM   6      all this data from those communities, but we then need to
9:17AM   7      establish -- they say in Colorado, you know, "How much -- how
9:17AM   8      intense was that exposure?"         And I know the government has done
9:17AM   9      some studies itself.       I'm sure y'all are getting some of that
9:18AM   10     now; is that right?      Some of that -- the government is
9:18AM   11     providing some of that data, Mr. London?
9:18AM   12                MR. LONDON:      We received one CD or DVD about a month
9:18AM   13     ago, and we understand that there should be more coming.
9:18AM   14                THE COURT:      Good.    I mean, I think -- you know, so we
9:18AM   15     need to sort of get a sense of how much got exposed and, you
9:18AM   16     know, what evidence is there of the contamination of water
9:18AM   17     supply?   I mean, what is that evidence?           So a lot of this is
9:18AM   18     like to me -- I guess what I'm saying is that some of the
9:18AM   19     things you would do to look that you might gather in medical
9:18AM   20     monitoring, first determining whether there's a basis for a
9:18AM   21     class -- I can't imagine classes that wouldn't be site specific
9:18AM   22     because so much of this is site specific, but even if you got
9:18AM   23     there, and you decided, "Hey, maybe there's something to this,"
9:18AM   24     the data you might receive could be very important for the rest
9:18AM   25     of the case.      And you lawyers would have to be doing something
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9:19AM   1      every lawyer hates to do, asking a question you don't know the
9:19AM   2      answer to, right?     You don't know what you're going to get.
9:19AM   3                        And -- but in some ways the medical monitoring
9:19AM   4      may produce information that would be -- first of all,
9:19AM   5      determining whether there's a basis for a class would be very
9:19AM   6      important, and discovery needs to be directed towards that, and
9:19AM   7      then even if you did it, what evidence do we have of any effect
9:19AM   8      of this exposure that you would think at least some threshold
9:19AM   9      showing might be in medical monitoring.
9:19AM   10                       So I just say that that -- so it's interesting
9:19AM   11     that, Mr. London, apparently the lawyers are thinking about it
9:19AM   12     in the same way I am in terms of this sequence of -- and you
9:19AM   13     just gave it to me in this order.          I might -- actually in terms
9:19AM   14     of where you go in proof, you might do just the reverse.
9:19AM   15     Medical monitoring, water providers, and then you would do, you
9:19AM   16     know, the individual injury.
9:19AM   17                MR. LONDON:     I -- that is actually how we -- I chose
9:19AM   18     that order simply because the plaintiff personal injury fact
9:20AM   19     sheet was served on us first.
9:20AM   20                THE COURT:     Sure.
9:20AM   21                MR. LONDON:     And I feel as though that probably is
9:20AM   22     the --
9:20AM   23                THE COURT:     And everybody is more familiar with
9:20AM   24     those.   It's easy.
9:20AM   25                MR. LONDON:     It is what it is, and -- but no.           We
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9:20AM   1      agree, and then that's -- Mr. Summy might address that later as
9:20AM   2      points related to science day, but we certainly agree with that
9:20AM   3      position of that this is a contaminant out there or alleged
9:20AM   4      contaminant, I think we both agree, and we should remediate and
9:20AM   5      address its issues in the environment.
9:20AM   6                        The other aspects of it in the claims, the
9:20AM   7      injury claims, as Your Honor just alluded to, that science is
9:20AM   8      developing, and that science is going to develop through the
9:20AM   9      monitoring precisely what happened in the Ohio cases --
9:20AM   10                THE COURT:     Correct.
9:20AM   11                MR. LONDON:     -- when it took the 72,000 people.             They
9:20AM   12     monitored them for seven years, and they -- this incredibly
9:20AM   13     body of science came out.
9:20AM   14                THE COURT:     And I'm sure you can go back now and look
9:20AM   15     at some of that data more precisely as you're looking as is
9:20AM   16     relevant to this case.      People who may not have had quite as
9:20AM   17     intense exposure in one way, you might -- you know, you might
9:20AM   18     want to see what that data shows you on human injury based on
9:21AM   19     level of exposure.     I didn't read the articles precisely
9:21AM   20     looking for that, but it struck me that they were dealing with
9:21AM   21     people that really had a lot of exposure.            I mean, it was -- it
9:21AM   22     was -- and whether that is or is not similar to what folks say
9:21AM   23     in Colorado or New York, I don't know.           I just don't know.
9:21AM   24                MR. LONDON:     I think -- and this will obviously be
9:21AM   25     discussed at science day, but, you know, one important element
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9:21AM   1      here, I don't want to get too much into it, is this exposure
9:21AM   2      component that Your Honor has alluded to.             This is a chemical,
9:21AM   3      an agent that doesn't go away.           So it's not as if there's one
9:21AM   4      blast of exposure or one big dose or you've taken a pill that
9:21AM   5      goes away.
9:21AM   6                 THE COURT:      That's why duration is going to be
9:21AM   7      important.
9:21AM   8                 MR. LONDON:      Duration is, but it's also biopersistent
9:21AM   9      and bioaccumulative, which means when you take a 400 milligram
9:21AM   10     pill -- and that might be a really big dose -- versus a 100
9:22AM   11     milligram, in 48, 72 hours, that half-life is gone.               Here if
9:22AM   12     you take a smidgen of a dose, it never goes away.               And then the
9:22AM   13     next day when you brush you teeth --
9:22AM   14                THE COURT:      But here's going to be the question, is
9:22AM   15     when does that smidgen, even daily smidgen, become medically
9:22AM   16     significant?      And I didn't see any articles on either side
9:22AM   17     trying to get us where it becomes material, and I'm hoping on
9:22AM   18     science day and some of your experts and defense experts will
9:22AM   19     help us deal with that issue about when -- because listen, we
9:22AM   20     know from -- from data that just is the broad exposure of
9:22AM   21     humanity to this chemical, there's a -- for people who have not
9:22AM   22     had any exposure in their water have a certain very small
9:22AM   23     amount in their bloodstream.         I mean, it's common.        So one of
9:22AM   24     the things we want to -- I'm interested in looking at is what
9:22AM   25     is that baseline that's sort of commonly out there versus what
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9:22AM   1      people who have had a -- you know, have had exposure in their
9:23AM   2      water supply, how does it differ?
9:23AM   3                 MR. LONDON:     And in Ohio -- and I believe this is
9:23AM   4      going to be discussed later -- it was .05 parts per million
9:23AM   5      exposure for one year was enough to cause the disease at issue.
9:23AM   6      So right now what we're looking at, Your Honor --
9:23AM   7                 THE COURT:     Well, that's why on science day, I want
9:23AM   8      both sides to be able to address that.            I mean, that's an issue
9:23AM   9      I'm interested in.
9:23AM   10                MR. LONDON:     Great.       The states are setting right now
9:23AM   11     various state levels in their states.
9:23AM   12                THE COURT:     Yeah, because the EPA hasn't really done
9:23AM   13     it, right?
9:23AM   14                MR. LONDON:     New Jersey has the lowest.           I think
9:23AM   15     Michigan is -- well, it varies, but New Jersey right now is the
9:23AM   16     lowest.
9:23AM   17                THE COURT:     But remember now, what they might do to
9:23AM   18     set a level for safe water might not also be the number that
9:23AM   19     you can say most probably causes human injury, because you're
9:23AM   20     going to have a margin of -- you're going to hope to have some
9:23AM   21     margin of safety there.
9:23AM   22                MR. LONDON:     And that goes back to the point, Your
9:23AM   23     Honor, that this is evolving greatly, and right now -- which is
9:23AM   24     what Your Honor said, and we agree with -- look at the
9:24AM   25     monitoring, almost group them, and then let's talk about the
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9:24AM   1      ratio that's really at bar, and the public safety issue is
9:24AM   2      remediation and getting it out of the providers, the water
9:24AM   3      providers, public and private, who are delivering water that
9:24AM   4      has state-based unsafe levels or levels that are too high.
9:24AM   5      That's -- that's an issue with us.
9:24AM   6                 THE COURT:     Which is one of the reasons -- this is
9:24AM   7      one reasons why the water districts are a unique component here
9:24AM   8      because, you know, if a state or even if the water districts
9:24AM   9      themselves based on reasonable scientific data determine that
9:24AM   10     after a certain level it is unsafe and they will not sell it,
9:24AM   11     then that's injury, right?        I mean, as long as that's a
9:24AM   12     reasonable basis for it, and particularly if it's a state that
9:24AM   13     has already set that limit, and -- but you could see a scenario
9:24AM   14     where maybe a state hadn't set a limit, but the water district
9:24AM   15     hires consultants, and they say, "Beyond this level, we don't
9:25AM   16     think -- you know, we're not going to sell a tainted product.
9:25AM   17     We're just not going to do it."          Well, that might be enough,
9:25AM   18     you know, to establish the -- the injury of the -- of the water
9:25AM   19     district if they can then demonstrate that these defendants
9:25AM   20     were a proximate cause of that contamination.
9:25AM   21                       So that's why I really see those cases as being
9:25AM   22     kind of an early kind of common -- common MDL turn on
9:25AM   23     bellwether.   It could well be an early bellwether, is to get to
9:25AM   24     those cases kind of early, and if they don't make it, then your
9:25AM   25     chance of not making the others go up.           And if you make it, it
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9:25AM   1      doesn't mean they're going to get further, but they're pretty
9:25AM   2      important all by themselves, because they're mass effect,
9:25AM   3      right?   I mean, their population is going to be exposed if they
9:25AM   4      don't -- and are -- these water districts, Mr. London, what are
9:25AM   5      they doing now?    Let's say in a state that has set a limit and
9:25AM   6      it's been determined at least some of their wells are at a
9:26AM   7      point above that number, what -- is there a universal response
9:26AM   8      of how they're dealing with this?          Are they --
9:26AM   9                 MR. LONDON:     You know, Your Honor, remediation is --
9:26AM   10     is -- what I understand, the -- New Jersey and the lawyer
9:26AM   11     representing who's just filed on behalf of New Jersey is here,
9:26AM   12     I believe, can address that question, what the state of New
9:26AM   13     Jersey is doing who has set the lowest limit in the state.
9:26AM   14     They have filed I believe a few lawsuits.            If you would like to
9:26AM   15     address the state of New Jersey --
9:26AM   16                THE COURT:     Well, I don't want to get too much aways.
9:26AM   17     I'm talking more generally here, and I'm really trying to give
9:26AM   18     the lawyers sort of a signal here about how I -- you know, to
9:26AM   19     me just logically how this -- you know, if we try to bite all
9:26AM   20     this off in one bite, we're all going to choke, right?               There's
9:26AM   21     just no way you can do all of these multifold issues at one
9:26AM   22     time, and -- but there are kind of issues I've thought about
9:26AM   23     that seem to be in common, and many of the water district
9:26AM   24     issues are common to all the claims, but they have less to
9:27AM   25     prove than the other claimants, and -- and they also have a
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9:27AM   1      potentially large amount of social good to the extent there's a
9:27AM   2      merit to their position.
9:27AM   3                        So, you know, it seems to me that as we're
9:27AM   4      organizing discovery -- and I don't want people to say, "Oh,
9:27AM   5      because the judge said something in the May conference, we're
9:27AM   6      not going to allow discovery in a certain area," because I'm
9:27AM   7      not trying to do that.       What I'm trying to say is I think it
9:27AM   8      would be prudent among early issues to address is the -- is
9:27AM   9      what would be necessary for a water district to prove its
9:27AM   10     claims, because I think that's a -- if you can't survive that,
9:27AM   11     you're not going to survive much else.            If you do survive it,
9:27AM   12     it's kind of signal where we might be going, right?               I just
9:27AM   13     think it's an important early element.
9:27AM   14                       And while we're talking about early elements,
9:27AM   15     let me just say another issue that I think we need to go ahead
9:27AM   16     and get the discovery done and get this addressed up or down,
9:28AM   17     and that is the governmental contractor immunity issue, and I'm
9:28AM   18     aware from reading enough so far that there are issues about
9:28AM   19     whether the government actually mandated this.              That seems to
9:28AM   20     be disputed.      There could be issues about did the -- did the
9:28AM   21     defendant manufacturers disclose to the government adequate --
9:28AM   22     make adequate disclosures?         All those issues, to me the facts
9:28AM   23     just aren't developed yet, and I think -- and we're talking
9:28AM   24     about a period, but I think the patent is in the late sixties
9:28AM   25     or something.      We're talking a lot of work needs to be done,
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9:28AM   1      and I think early on, y'all need to get on with that, because
9:28AM   2      it's one of those issues that to the extent the contractor
9:28AM   3      defense is valid, it affects the case tremendously, and if it
9:28AM   4      doesn't apply, it also affects the case tremendously.               And it
9:28AM   5      just seems to me one of those sort of pivot issues early in the
9:29AM   6      case that y'all need to get on with it, get it over with, fully
9:29AM   7      develop the record on it.       You got a lot of people in y'all's
9:29AM   8      plaintiff and defense teams, and I think y'all need to get to
9:29AM   9      work, go different places, get these depositions done, get the
9:29AM   10     documents.
9:29AM   11                       Did any of the -- in the C8 litigation, did they
9:29AM   12     get into what the manufacturers knew and when they knew it?
9:29AM   13     Was that something that was relevant in that litigation?
9:29AM   14                MR. LONDON:     It was, Your Honor.        It's important to
9:29AM   15     point out that C8 was DuPont only was the only plaintiff.
9:29AM   16                THE COURT:     That's right.
9:29AM   17                MR. LONDON:     And it was plant -- Washington Works
9:29AM   18     plant.
9:29AM   19                THE COURT:     Right.    But is there much -- in other
9:29AM   20     cases, has there been discovery about what these defendants
9:29AM   21     knew or should have known about -- about -- and did they
9:29AM   22     disclose it to the government?          Yes, sir, Mr. Summy?
9:29AM   23                MR. SUMMY:     Your Honor, Scott Summy.         I've taken a
9:29AM   24     look at the other cases.       The other cases, especially the one
9:29AM   25     where all of these studies came out, it was a direct release
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9:30AM   1      from the manufacturer.
9:30AM   2                  THE COURT:    Yes.
9:30AM   3                  MR. SUMMY:    And so there was not really a focus on
9:30AM   4      what the product manufacturers knew about the environmental
9:30AM   5      effects.
9:30AM   6                  THE COURT:    I get that, yes.
9:30AM   7                  MR. SUMMY:    So I think it's extremely important that
9:30AM   8      we delve into that, like you said, and that's got to be done
9:30AM   9      quickly so we can get to this government contractor defense.
9:30AM   10                 THE COURT:    I mean, it's important.
9:30AM   11     Mr. Petrosinelli, don't you agree this is something we just
9:30AM   12     need to get on with?
9:30AM   13                 MR. PETROSINELLI:      Absolutely, Your Honor.        I was
9:30AM   14     going to make a comment about that.          The other PFOS litigation,
9:30AM   15     the C8 litigation and so on, didn't -- the government contract
9:30AM   16     defense was not an issue --
9:30AM   17                 THE COURT:    Right.    It wasn't present.
9:30AM   18                 MR. PETROSINELLI:      -- number 1.      And number 2, those
9:30AM   19     are PFOS cases, as Mr. Summy said, manufacturers of the
9:30AM   20     chemical.
9:30AM   21                 THE COURT:    Right.
9:30AM   22                 MR. PETROSINELLI:      This is a AFFF case.
9:30AM   23                 THE COURT:    Correct.
9:30AM   24                 MR. PETROSINELLI:      We don't manufacture --
9:30AM   25                 THE COURT:    It's just one of the products.
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9:30AM   1                  MR. PETROSINELLI:      Right.    It's a product that uses
9:30AM   2      the chemical.
9:30AM   3                  THE COURT:    Correct.
9:30AM   4                  MR. PETROSINELLI:      And so this issue about what was
9:30AM   5      known -- and remember, the government contractor defense, it's
9:30AM   6      not "should have known".       It's "actual knowledge" and what was
9:30AM   7      communicated to the government and what did the government know
9:30AM   8      and when.    And remember, it's defendant specific, because it
9:31AM   9      focuses on individual defendant knowledge or manufacturer
9:31AM   10     knowledge in this case, the answer could be different for
9:31AM   11     different defendants.
9:31AM   12                 THE COURT:    That's correct.
9:31AM   13                 MR. PETROSINELLI:      And so --
9:31AM   14                 THE COURT:    I really think it's -- you know, we've
9:31AM   15     got -- if we had to sit back for a minute and say, "How do we
9:31AM   16     do all of this," it would be -- it would -- to get your arms
9:31AM   17     entirely around it is just sort of -- we'd just say, "All
9:31AM   18     right.   I don't know how we will do it."          But you break into
9:31AM   19     manageable pieces, and that's why I think to me a couple of the
9:31AM   20     sort of early manageable pieces, one would be the water
9:31AM   21     district cases, because I think it kind of goes to a certain --
9:31AM   22     some threshold facts that are very important.             I think the
9:31AM   23     federal contractor immunity defense is something that really
9:31AM   24     affects a lot of the case, and you kind of need to know the
9:31AM   25     answer to that.    And I got to say, I think some of the medical
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9:31AM   1      monitoring issues are important as well.           Is there really a --
9:31AM   2      can you class it?     I mean, is there a basis to class it?               Can
9:32AM   3      we meet the Rule 23 standards to even class it?             How would you
9:32AM   4      do it?   And even if you did it, maybe you even ought to think
9:32AM   5      about doing it in one or two places and just sort of see if
9:32AM   6      it's actually giving you information that's worth something.
9:32AM   7                 MR. PETROSINELLI:       I think that's what these early
9:32AM   8      fact sheets are for.      You just used an expression that Judge
9:32AM   9      Fallon uses which is, "I want to get my arms around the
9:32AM   10     docket," and that's why he uses these early fact sheets.
9:32AM   11                THE COURT:     Yeah, he talked -- that's one of the
9:32AM   12     first things on my first MDL he talked to me about was, "Get
9:32AM   13     those fact sheets.     They really help everybody to know what you
9:32AM   14     got and what you don't have."
9:32AM   15                MR. PETROSINELLI:       Because before you decide how to
9:32AM   16     structure litigation, Your Honor may -- Your Honor's instinct
9:32AM   17     may be right, that maybe the water provider cases and the
9:32AM   18     medical monitoring cases are a good place to start, but you
9:32AM   19     won't know that until you get the fact sheets and you see --
9:32AM   20     because it might be when you look at the fact sheets -- for
9:32AM   21     example, there are about 20 medical monitoring putative class
9:32AM   22     actions.   It's not just Colorado, and so --
9:33AM   23                THE COURT:     And there are states that don't have
9:33AM   24     them.
9:33AM   25                MR. PETROSINELLI:       There are states that don't have
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9:33AM   1      -- you know, and so I think from our perspective, getting -- as
9:33AM   2      Mr. London said, we agree that I think within a couple of
9:33AM   3      weeks, we ought to have agreed fact sheets for perhaps all
9:33AM   4      these categories or at least some of these four categories, and
9:33AM   5      then we'll have to talk about when people have to answer those,
9:33AM   6      you know, how many days.
9:33AM   7                 THE COURT:      How about defense fact sheets, about
9:33AM   8      getting the information about -- you know, one of the things --
9:33AM   9      let's say you determine one of the air bases in Colorado has
9:33AM   10     contamination, and I know there's not a sheet out there that
9:33AM   11     says, "Okay.      This is where -- these are the manufacturers who
9:33AM   12     sent the --" I mean, it's going to take some work.               Hopefully
9:33AM   13     you can trace to see who -- whose product actually was in
9:33AM   14     Colorado and when it was there and how long it was there.                  I
9:33AM   15     mean, all these things, but it seems to me that that
9:33AM   16     information is also important.
9:33AM   17                MR. PETROSINELLI:        Absolutely.     I think in
9:33AM   18     Colorado -- I mean, we can talk about it, but we had huge
9:34AM   19     document productions in the Bell case, and we can talk about
9:34AM   20     what those were and so on, but one of the things we produced in
9:34AM   21     Colorado that I would expect would be part of a defendant fact
9:34AM   22     sheet here or informal discovery would be where else did you
9:34AM   23     ship?   Because obviously in the Colorado case, we provided
9:34AM   24     evidence of -- to the extent there were shipments into Colorado
9:34AM   25     and we had them, had evidence of that, we produced it.                But for
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9:34AM   1      all of these sites in this case, you're -- I assume the
9:34AM   2      plaintiffs are going to want to know and we're going to want to
9:34AM   3      know, are there records to show whether each defendant shipped
9:34AM   4      products here or there?
9:34AM   5                        I think as you know and you've heard with the
9:34AM   6      military products, which is about 80 percent of the MDL so far,
9:34AM   7      which would be subject to the government contractor immunity --
9:34AM   8                 THE COURT:     Right.
9:34AM   9                 MR. PETROSINELLI:       -- generally you ship those not to
9:34AM   10     the site where they're going to be used.           You ship those to the
9:34AM   11     central depot called the Defense Logistics Agency.
9:35AM   12                THE COURT:     And do they keep good records?
9:35AM   13                MR. PETROSINELLI:       And that's the question.         I know
9:35AM   14     Ms. Williams is working on that.
9:35AM   15                THE COURT:     Yeah.    Well, it just seems to me that
9:35AM   16     among those sort of foundational pieces of information we need
9:35AM   17     is we got to trace the product from the defendants to the
9:35AM   18     ground, right?     I mean, we gotta -- we just -- how did it get
9:35AM   19     there?   Who was involved?      All of that.      I mean, maybe some of
9:35AM   20     it will be unknowing, and we'll have to figure out methods to
9:35AM   21     get a reasonable determination of that.
9:35AM   22                MR. PETROSINELLI:       Particularly if you're talking
9:35AM   23     about the sixties and seventies --
9:35AM   24                THE COURT:     Correct.
9:35AM   25                MR. PETROSINELLI:       -- or records going back that far.
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9:35AM   1                 THE COURT:     And they're going to be -- they're not
9:35AM   2      going to be computers.      They're going to be manual records, and
9:35AM   3      so I do think it's -- so talk to me about the defendant fact
9:35AM   4      sheets.   What are y'all doing on that?
9:35AM   5                 MR. PETROSINELLI:       We're -- we've talked to
9:35AM   6      Mr. London about that, and the plaintiffs haven't sent us a
9:35AM   7      draft yet, but I think they're still working through internally
9:35AM   8      how they're going to do that.
9:35AM   9                        One thing I thought was helpful to my mind is
9:35AM   10     we -- at one of the initial meet and confers we had, we
9:36AM   11     suggested that they send us just some informal, like by email,
9:36AM   12     basic questions about what are the names of the products you
9:36AM   13     sold, when did you sell them, and so on, which are the kinds of
9:36AM   14     things I think -- not only things, but the kind of things that
9:36AM   15     would be in a defendant fact sheet, and I'm inclined -- and
9:36AM   16     this would be my practice generally -- just to provide that to
9:36AM   17     them informally without waiting for a fact sheet.
9:36AM   18                THE COURT:     And I just think y'all need to have
9:36AM   19     Ms. Williams in the loop here, because -- and telling her what
9:36AM   20     y'all are looking for, and I think you've already started that.
9:36AM   21                MR. PETROSINELLI:       Yes, Your Honor.
9:36AM   22                THE COURT:     Where is Ms. Williams here today?           Oh,
9:36AM   23     there you are.     And so she -- I mean, obviously tracing it, if
9:36AM   24     you trace 80 percent of it to this Defense Logistics thing,
9:36AM   25     then that's just a start, and then we've got to figure out
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9:36AM   1      where it went and when it went and all of that, and I think
9:36AM   2      that's like -- again, just like some of the threshold things
9:36AM   3      we're talking here about the plaintiffs, I think that's
9:36AM   4      something really important early on everybody needs to get on
9:37AM   5      the same page about.
9:37AM   6                  MR. PETROSINELLI:      Well, because -- to Your Honor's
9:37AM   7      point, the government contractor defense applies to all types
9:37AM   8      of cases, including water provider cases, right?             If the source
9:37AM   9      of exposure in the water provider case was an Air Force base,
9:37AM   10     it's a cross -- as Judge Fallon, another term he uses, a
9:37AM   11     cross-cutting issue.      Like it cuts across all the claims, and
9:37AM   12     so we totally agree that that's --
9:37AM   13                 THE COURT:    That's one reason I think we got to get
9:37AM   14     to the -- and I've seen different defenses in one claim.                  I
9:37AM   15     think it was in the -- maybe the New York's Motion on Remand.
9:37AM   16     By the way, whoever is from New York, I'm not remanding it.
9:37AM   17     Rule.   But it kind of made the point that -- that the -- the
9:37AM   18     argument -- whether it's true or not I have no way of
9:37AM   19     knowing -- that the government did not specify the use of PFOS
9:37AM   20     and PFOA.    That was something the manufacturers did, and there
9:38AM   21     were other alternatives.       I looked at the patent.         I couldn't
9:38AM   22     figure out what was in it and what was mandated.             It was beyond
9:38AM   23     my ability to do it, but that seems to me a very important
9:38AM   24     issue to know is, you know, there's clearly what is it, like
9:38AM   25     the Naval Research Center is like very involved in developing
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9:38AM   1      the foam.    I mean, there's clearly government activity in that,
9:38AM   2      but it seems to me pretty probative is the chemicals at issue
9:38AM   3      here, whether that was required by the government.
9:38AM   4                  MR. PETROSINELLI:      Well, I think you'll have to read
9:38AM   5      our opposition to the Motion to Remand, and actually in a case
9:38AM   6      that you have in this MDL now, Judge Seybert in the Eastern
9:38AM   7      District of New York, she ruled on this.
9:38AM   8                  THE COURT:    Tell me what was the ruling.
9:38AM   9                  MR. PETROSINELLI:      So her ruling -- she issued a
9:38AM   10     40-page opinion that someone moved to remand a case that was --
9:38AM   11     we had removed to the Eastern District in New York, and she --
9:39AM   12     it was fully briefed and looked at the law and said, "It's not
9:39AM   13     part of the government contractor defense that -- that the
9:39AM   14     government specifies exactly the type of chemical that you
9:39AM   15     use."
9:39AM   16                 THE COURT:    But it's got to be reasonably precise is
9:39AM   17     the language.
9:39AM   18                 MR. PETROSINELLI:      Correct.
9:39AM   19                 THE COURT:    And the question though is it just seems
9:39AM   20     really relevant to this case though, and the way this has
9:39AM   21     normally arisen is, you know, the government says -- it's
9:39AM   22     usually like a piece of military equipment, right?              It's like a
9:39AM   23     piece of a helicopter, part of a helicopter, and the government
9:39AM   24     says, "We need for this to happen."          And they didn't literally
9:39AM   25     draw the engineering plans out, but they basically told them
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9:39AM   1      what they needed, and there wasn't a lot of discretion.               The
9:39AM   2      manufacturer had to get in there and do it.
9:39AM   3                        And what I don't know enough -- and this is one
9:39AM   4      of the reasons I'm going to learn a lot at science day -- is
9:39AM   5      how much of this patent is the recipe?           You know, what else is
9:39AM   6      there?   And, you know, was -- and the decision to add these
9:40AM   7      particular chemicals that are at issue in this litigation,
9:40AM   8      how -- so let's say that was just a discretionary call by the
9:40AM   9      manufacturer.     That was what they -- that was what they added
9:40AM   10     to the mix.    I mean, that's just a really important issue, and
9:40AM   11     I -- I tried.     I read the patents.       I said, you know, I was
9:40AM   12     trying to figure out comparing these -- the information I had,
9:40AM   13     and I just couldn't figure it out, whether that assertion by
9:40AM   14     New York was correct or not.
9:40AM   15                MR. PETROSINELLI:       But the key thing is to focus
9:40AM   16     on -- the military specification says you have to use a
9:40AM   17     fluorinated surfactant, which is a very specific term about
9:40AM   18     what that means, and it has to meet all of these performance
9:40AM   19     requirements, and the fact is, as you'll see, and part of our
9:40AM   20     reason why the remand motion should be denied, is you get into
9:40AM   21     the merits of the case.
9:40AM   22                THE COURT:     Oh, completely.       It's not even close.
9:40AM   23     Don't worry.
9:40AM   24                MR. PETROSINELLI:       And so --
9:40AM   25                THE COURT:     How's that for argument, right?
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9:41AM   1                 MR. PETROSINELLI:       Shall I leave now or -- but the
9:41AM   2      fact is -- and part -- this could be part of science day, in
9:41AM   3      fact.   The fact is that there are only certain chemicals that
9:41AM   4      are fluorinated surfactants that could meet those standards.
9:41AM   5                 THE COURT:     Well, that's one of the things I want to
9:41AM   6      know.
9:41AM   7                 MR. PETROSINELLI:       Exactly.
9:41AM   8                 THE COURT:     You know, what were they and, you know,
9:41AM   9      how many were they, and why one would be picked over another,
9:41AM   10     and what was known at the time about potential risk, all of
9:41AM   11     that.
9:41AM   12                MR. PETROSINELLI:       Exactly.     And it's only -- if you
9:41AM   13     look at the Sawyer case in the Fourth Circuit which is the key
9:41AM   14     government contractor case, defense case, because -- and it
9:41AM   15     actually -- it was on a motion -- it was on a remand issue.
9:41AM   16     The question was should the case have been remanded?              The
9:41AM   17     standard is that the government has exercised some -- not all,
9:41AM   18     not all-encompassing -- some control and guidance over what the
9:41AM   19     manufacturers do.     And so -- and one of the many factors you
9:41AM   20     look at is what ingredients are, you know, put in the
9:41AM   21     specification?    But it's not a dispositive issue that it didn't
9:42AM   22     say exactly this ingredient.
9:42AM   23                THE COURT:     I get that.      I just think that is
9:42AM   24     something that on my own, I can't figure out about --
9:42AM   25                MR. PETROSINELLI:       Definitely.
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9:42AM   1                 THE COURT:     -- you know, what were the potential
9:42AM   2      products, and what were the options, and why was one picked
9:42AM   3      over another, and did it matter?          That is, do all these
9:42AM   4      products produce the same result?          What was known at the time?
9:42AM   5                 MR. PETROSINELLI:       And so I think we need to get to
9:42AM   6      all those issues early in discovery.
9:42AM   7                 THE COURT:     Correct.      We do.   It's not the only
9:42AM   8      issue --
9:42AM   9                 MR. PETROSINELLI:       No, no.
9:42AM   10                THE COURT:     -- but it is an issue that we need to get
9:42AM   11     to.
9:42AM   12                MR. PETROSINELLI:       Definitely.
9:42AM   13                THE COURT:     So it sounds like I'm pushing a little
9:42AM   14     bit on defense fact sheets too.          I think that plaintiffs needs
9:42AM   15     to do their part of that, because I do think the tracing
9:42AM   16     process is something we need to get on with, because it may
9:42AM   17     take a while.
9:42AM   18                MR. LONDON:     And we agree.       That's one of the central
9:42AM   19     elements in the defense fact sheets that we hope to get to them
9:42AM   20     in draft shortly.
9:42AM   21                THE COURT:     And I would urge you all not just to do
9:42AM   22     it among yourselves, but to keep the Department of Justice
9:43AM   23     involved, because I think they can help facilitate and may be
9:43AM   24     able to tell you ways to shortcut what you're trying to do.
9:43AM   25     Ms. Williams is learning about this herself, and she may tell
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9:43AM   1      you, "This is a way -- a path to this rather than the way you
9:43AM   2      may be thinking about."       So I think y'all need to stay in touch
9:43AM   3      and keep her involved.
9:43AM   4                        I know that we had -- we had some discussion
9:43AM   5      earlier about deposition protocols.          Where are we on all of
9:43AM   6      that?
9:43AM   7                 MR. THOMPSON:      Judge, I had an opportunity to talk
9:43AM   8      with your law clerk.      This is an issue that may represent some
9:43AM   9      distinction between the two sides.          We -- and when I say "we",
9:43AM   10     I mean "me" -- we view the Federal Rules as providing
9:43AM   11     sufficient framework to conduct depositions, and an elaborate
9:43AM   12     protocol is really not needed as prerequisite to --
9:44AM   13                THE COURT:     We got to have some order to it.           This is
9:44AM   14     why we have a PEC and a defense committee, is to coordinate
9:44AM   15     with each other, but I agree with you that I don't need to
9:44AM   16     micromanage, authorize you to take a deposition.             We've stayed
9:44AM   17     discovery initially here just, you know, to get ourselves
9:44AM   18     organized but, you know, I'm not intending to micromanage when
9:44AM   19     you're going to take depositions and so forth.             That's
9:44AM   20     something y'all need to work out.          And to the extent there's a
9:44AM   21     problem, somebody will move for either a protective order or
9:44AM   22     compel, and I'll address it at the next status conference.
9:44AM   23                       I mean, but I agree with you that I think
9:44AM   24     it's -- and listen, you don't want to start your depositions in
9:44AM   25     a way that -- that if you didn't have the underlying
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9:44AM   1      information, you can't be as effective as you would be, so you
9:44AM   2      need some information.      Obviously some 30(b)(6)s may be
9:44AM   3      appropriate to get to some of that information that you can't
9:45AM   4      get other -- just by written discovery, but if you don't feel a
9:45AM   5      need for a -- a deposition protocol, I personally don't -- I'm
9:45AM   6      not going to micromanage your discovery, and the rules provide
9:45AM   7      for a party's right to do -- you know, gather evidence by
9:45AM   8      deposition.   So --
9:45AM   9                 MR. PETROSINELLI:       Your Honor, could I be heard on
9:45AM   10     that for one second?
9:45AM   11                THE COURT:     Yes, sir.
9:45AM   12                MR. PETROSINELLI:       I think just so you understand
9:45AM   13     from a defense perspective, what we were talking about on the
9:45AM   14     deposition protocol is not so much timing or things that are
9:45AM   15     covered by the rules, but in a case where you have multiple
9:45AM   16     plaintiff constituencies, state, federal, different kinds of
9:45AM   17     cases, water provider cases, and you have multiple defendants,
9:45AM   18     some structure -- at least it's been my experience in multiple
9:45AM   19     plaintiff constituencies and multiple defendant cases, some
9:45AM   20     structure on how many lawyers can question and that kind of
9:45AM   21     thing; not so much --
9:45AM   22                THE COURT:     Here's my proposal to you.         If you
9:45AM   23     think -- and I -- you'd like to think you could just sort of
9:46AM   24     work that out.    You can't have -- I mean, you can't have an
9:46AM   25     army of people asking questions.          You can't do that.
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9:46AM   1                 MR. PETROSINELLI:       Right.
9:46AM   2                 THE COURT:     That y'all try to work it out informally.
9:46AM   3      You might -- if you've got an idea, I'm sure if this has been
9:46AM   4      done before, y'all had some written protocols.             You give it to
9:46AM   5      the plaintiffs.    If y'all can't reach a resolution, I'll help
9:46AM   6      you get to the end.     We'll decide it if we need it, but there
9:46AM   7      needs to be -- I mean, a lot of this is -- the whole structure
9:46AM   8      we're doing here, the fact that the two of you are standing up
9:46AM   9      instead of all the people in the room standing up is that you
9:46AM   10     just can't run litigation with a hundred chiefs.             You got to
9:46AM   11     have people running it, and the same thing with depositions.
9:46AM   12     You can't have just a lineup of people like a tag team in a
9:46AM   13     wrestling match, you know.        But there are differences -- you
9:46AM   14     know, different groups may have different needs to talk to
9:46AM   15     certain witnesses, and, you know, someone might get deposed
9:46AM   16     more than once because the discrete set of facts and different
9:47AM   17     constituencies that you're talking about might have completely
9:47AM   18     different issues they need to address.
9:47AM   19                MR. PETROSINELLI:       For the record, I don't want to
9:47AM   20     wrestle Mr. Thompson.      That's the last thing I'd want to do.
9:47AM   21                THE COURT:     You wouldn't win.
9:47AM   22                MR. PETROSINELLI:       I've heard you say about his
9:47AM   23     elbows in the basketball courts.
9:47AM   24                THE COURT:     Yes.
9:47AM   25                MR. PETROSINELLI:       But anyway, that's what we plan to
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9:47AM   1      do.   Just send them something and break it up.
9:47AM   2                 MR. THOMPSON:       Judge, when I'm talking, I sound so
9:47AM   3      good, and then when Mr. Petrosinelli was talking, he sounds
9:47AM   4      good.    It sounds like we're talking a little bit past each
9:47AM   5      other.    I would suggest that they write us out a protocol, and
9:47AM   6      we will --
9:47AM   7                 THE COURT:      I think that's what we need to do,
9:47AM   8      because he raises an important issue.            There's got to be some
9:47AM   9      basic rules here.      All of us have been in litigation where
9:47AM   10     somebody didn't want to abide by those rules, and you create
9:47AM   11     utter -- one person can create utter chaos.                Part of my job is
9:47AM   12     to keep the train running down the track here.
9:47AM   13                       So, Mr. Petrosinelli, you'll submit something on
9:48AM   14     that?
9:48AM   15                MR. PETROSINELLI:        Yes, Your Honor, we will.
9:48AM   16                THE COURT:      Good.    Okay.    Direct filing.       United
9:48AM   17     States objected, Ms. Williams, to if you were brought in as
9:48AM   18     a -- a defendant in a direct file case?
9:48AM   19                MS. WILLIAMS:       Yes, Your Honor.       Specific to the
9:48AM   20     Federal Tort Claim Act, the Federal Tort Claim Act has a
9:48AM   21     specific venue provision that cannot be satisfied by --
9:48AM   22                THE COURT:      I'm fully familiar with it.           Let me tell
9:48AM   23     you my take.      The case you cited is pure dicta.            I do not -- I
9:48AM   24     have not had a change of venue based on the MDL.                If I did, it
9:48AM   25     would be lexicon issues all day long.            We haven't done that.
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9:48AM   1      It's not correct.     And a loose sentence in that one case you
9:49AM   2      cited, it's -- just for our purposes is inadequate.
9:49AM   3                        I am helping pretrial my colleagues who are the
9:49AM   4      transferor judges.     I mean, it's their cases, not my case, and
9:49AM   5      I'm going to handle these things, and hypothetically if
9:49AM   6      somebody names the United States as a defendant, and you object
9:49AM   7      to it, you can file a motion, but I want to tell you, I'm not
9:49AM   8      impressed with the idea that venue has been changed.              I think
9:49AM   9      absolutely it has not been changed.          That's why I can't sit
9:49AM   10     here and try cases.       When this thing was filed, the MDL thought
9:49AM   11     it wise enough in his wisdom to send me all the cases.               I had
9:49AM   12     no South Carolina cases, so I could literally try no cases
9:49AM   13     myself.
9:49AM   14                MS. WILLIAMS:      Your Honor, our position isn't there's
9:49AM   15     a problem with venue in any of the existing cases.              We believe
9:49AM   16     that --
9:49AM   17                THE COURT:     File a motion, and I'll rule.
9:49AM   18                MS. WILLIAMS:      It's if they direct file here, that
9:49AM   19     1402 --
9:50AM   20                THE COURT:     I understand your argument.          If somebody
9:50AM   21     does it and you object, file a motion.           The parties will brief
9:50AM   22     it, and I'll rule, okay?
9:50AM   23                       Okay.   There was an issue raised about the
9:50AM   24     direct filing with a Pennsylvania group, 700 plaintiffs in
9:50AM   25     Pennsylvania.     What's going on with all of that?
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9:50AM   1                 MR. THOMPSON:      Judge, this was -- I believe it was a
9:50AM   2      motion that was put to you to allow -- these cases were filed
9:50AM   3      in Pennsylvania under their court rule which allows filing of
9:50AM   4      multiple plaintiff complaints.
9:50AM   5                 THE COURT:     There wasn't even like a summons, wasn't
9:50AM   6      even a lawsuit filed.      Who would let that happen?           But anyway,
9:50AM   7      does that toll the statute or something?            You just put names on
9:50AM   8      a piece of paper, and it tolls the statute?
9:50AM   9                 MR. THOMPSON:      Yes, Your Honor.
9:50AM   10                MR. OLSEN:     We don't love it either.
9:50AM   11                THE COURT:     Let me tell you what I don't like about
9:50AM   12     it, Mr. Thompson.     I get 700 names on a piece of paper.             How am
9:51AM   13     I to manage that litigation?        It's sort of chaotic, and if
9:51AM   14     actually they waived lexicon and I was to try it, I would -- I
9:51AM   15     can't try 700 people.      I'm going to be severing every -- each
9:51AM   16     one of them into -- I mean, it's kind of a -- that's why we're
9:51AM   17     going to allow a direct filing, but it's going to be one case
9:51AM   18     at a time or a family really.           I define what that is.       I'm not
9:51AM   19     going to have 700 cases just dumped here collectively as one
9:51AM   20     case.
9:51AM   21                MR. THOMPSON:      Judge, this is limited to that venue.
9:51AM   22     There is a case lawyer who's present, Mr. Cohan, and with your
9:51AM   23     permission, if he wants to address the Court on that --
9:51AM   24                THE COURT:     I would just say y'all need to file a
9:51AM   25     formal motion relating to that.
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9:51AM   1                 MR. THOMPSON:       Yes, sir.
9:51AM   2                 THE COURT:      And let me brief it.        I just -- I had --
9:51AM   3      you say it's unique.       Let me just say this.           I had it in the
9:51AM   4      Lipitor case.      They had people from Missouri with all of
9:51AM   5      these -- I mean, this is not unique to Pennsylvania.                And it
9:51AM   6      just -- you know, it's just a really -- you know, we talk in
9:52AM   7      here about direct filing.        If the -- if they move to have it
9:52AM   8      transferred, I guess it goes to Federal Court, and then it's
9:52AM   9      transferred.      Is it sitting in State Court right now?             Is that
9:52AM   10     where --
9:52AM   11                MR. THOMPSON:       Judge, I've exhausted my knowledge.
9:52AM   12                THE COURT:      Yes, sir?
9:52AM   13                MR. COHAN:      Your Honor, Josh Cohan.          I represent many
9:52AM   14     of the plaintiffs in Pennsylvania.           The cases are currently
9:52AM   15     pending in State Court.        Complaints have not been filed.              Writs
9:52AM   16     of summons have been filed in PA.
9:52AM   17                THE COURT:      Yeah.    So is your idea to remove it to
9:52AM   18     Federal Court and then transfer it, or how would you do this?
9:52AM   19                MR. COHAN:      We've been working with defendants to
9:52AM   20     come up with this joint agreement, and we would directly file
9:52AM   21     into the MDL.
9:52AM   22                THE COURT:      You're going to do one -- you're going to
9:52AM   23     do one at a time.      If they're family related, I define what
9:52AM   24     direct file is.      I'm just not -- I'm just not going to do this.
9:52AM   25     It produces problems down the road that I can avoid by saying
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9:52AM   1      if you're going to do direct filing, you're going to do it the
9:53AM   2      way we do it.     Okay?
9:53AM   3                 MR. COHAN:     Okay, Your Honor.
9:53AM   4                 THE COURT:     It's based on logic and experience.
9:53AM   5                        Science day.     I saw the proposed order.           I may
9:53AM   6      refine it a little bit.       I was -- some of my discussion here
9:53AM   7      today was to guide the lawyers about issues that kind of
9:53AM   8      interest me.
9:53AM   9                        Do not send people in just to repeat what's in
9:53AM   10     those articles.     I've read the articles, okay?             Don't -- you
9:53AM   11     know, don't spoon feed me what I have already read.                There are
9:53AM   12     issues here that we need to get to -- I've talked about some of
9:53AM   13     them -- that are important to understand, and the parties have
9:53AM   14     distinctly different positions on the science, and I want to
9:53AM   15     talk about those.     And y'all ought to talk about -- think about
9:53AM   16     the issues where you know there is dispute.                The things y'all
9:53AM   17     have in common, I mean, that's not -- I'm not worried about
9:53AM   18     those.    Where y'all dispute things, to identify those, and what
9:54AM   19     is the science on both sides of those issues?                I'm talking
9:54AM   20     about scientific causation, and what level is -- is it harmful
9:54AM   21     to humans?    At what level is it safe or unsafe in water, et
9:54AM   22     cetera?    I mean, those -- those are some of the really
9:54AM   23     important issues in the case.           The parties have distinctly
9:54AM   24     different positions, I take it, on it, and the science ought to
9:54AM   25     drive my resolution of these things.            So I'm -- I'm interested
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9:54AM   1      in discussing those.
9:54AM   2                        I think we're probably going to do it in
9:54AM   3      September.    I just think in timing of the -- I think that's a
9:54AM   4      better time for doing this and give y'all plenty of sort of
9:54AM   5      advanced notice, and we'll do it on the day of the September
9:54AM   6      status conference.     We will -- we will do it -- you know, we'll
9:54AM   7      have the status conference, and then we'll proceed.
9:55AM   8                        Let me tell you one area where -- where I know
9:55AM   9      we will not agree with each other, and that is there was a
9:55AM   10     proposal to close my hearing.           I don't close my hearings unless
9:55AM   11     there's some really critical public purpose like a cooperator
9:55AM   12     who might get shot, okay, something like that.              I don't close
9:55AM   13     hearings.    I remember Judge Perry, my dear friend, was once
9:55AM   14     asked to close it.     He says, "This is not Russia.            You know, we
9:55AM   15     don't close hearings."      So I'm not closing it.
9:55AM   16                       On the other hand, it's not something either
9:55AM   17     side is to use against the other.           I will get a transcript.
9:55AM   18     You will not get a transcript.           I will get a transcript of that
9:55AM   19     for me, because I refer to it and go back to it from time to
9:55AM   20     time, but you're not going to have authorization to get a
9:55AM   21     transcript, and there's not going to be a transcript.                Don't
9:56AM   22     bring in a court reporter to surreptitiously take it down, and
9:56AM   23     you cannot use it in any way against each other.              That is not
9:56AM   24     the purpose of this.      It's to help me understand, and y'all
9:56AM   25     might want to talk among yourselves about the issues where
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9:56AM   1      there is dispute, kind of focus on what might be most useful so
9:56AM   2      you don't have one side coming in and saying, "This is a big
9:56AM   3      issue to us," and I don't hear from the other side about that
9:56AM   4      same issue.   I mean, where there's dispute, I want to hear in
9:56AM   5      some logical way the presentation so I can -- I can understand
9:56AM   6      the basis of each party's position.          So we might even want to
9:56AM   7      think about getting together and kind of listing some of the
9:56AM   8      issues where we recognize there's a dispute, and in some
9:56AM   9      coherent way I know we're addressing them, so I can kind of --
9:56AM   10     we don't have to do point/counterpoint during the presentation,
9:56AM   11     but we can do things in a way that we know that we're
9:56AM   12     addressing things that are material to the case, and I'm
9:57AM   13     hearing both sides of the science.          Okay?
9:57AM   14                 MR. PETROSINELLI:      Your Honor, could I ask you one
9:57AM   15     question about that?
9:57AM   16                 THE COURT:    Yes.
9:57AM   17                 MR. PETROSINELLI:      Because it sounds like if it's
9:57AM   18     going to be in September, we have more time to meet and
9:57AM   19     confer --
9:57AM   20                 THE COURT:    Yes.
9:57AM   21                 MR. PETROSINELLI:      -- about topics and so on, but
9:57AM   22     just procedurally one thing that we seem to have a difference
9:57AM   23     on, and we just wanted to -- I wanted to at least get your
9:57AM   24     guidance, which is the plaintiffs' proposal had something in
9:57AM   25     the order that said that the lawyers could do direct -- might
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9:57AM   1      do direct exam.
9:57AM   2                 THE COURT:     No, no, no, no.
9:57AM   3                 MR. PETROSINELLI:       No, I thought you said no on that.
9:57AM   4                 THE COURT:     No, this is -- you got to have experts
9:57AM   5      who speak English, right?       And I don't mean because they're
9:57AM   6      from a foreign country.       It's because they talk in jargon, and
9:57AM   7      if they sit there and talk in abbreviations and things that I
9:57AM   8      don't recognize, they're not very helpful to me.             They need to
9:57AM   9      speak in a way in which lay people can understand the science
9:57AM   10     they're explaining.
9:57AM   11                MR. PETROSINELLI:       And would you anticipate so then
9:57AM   12     the expert would just get up there and say, "Here's what I'm
9:57AM   13     going to talk about," and just start talking?
9:57AM   14                THE COURT:     Correct.      And what the benefit will be is
9:58AM   15     maybe y'all will have agreed on the topics that are going to be
9:58AM   16     addressed, and so Expert A may address -- he's going to say,
9:58AM   17     "I'm going to address these three issues," and so I know that
9:58AM   18     that's the issues we're addressing, and when -- you'll have
9:58AM   19     people who will have the kind of counterpoint to those issues.
9:58AM   20     And we're not having argument afterwards or anything else.                I'm
9:58AM   21     trying to hear, I'm trying to absorb the science, and where
9:58AM   22     there is -- where there are differences, I want an
9:58AM   23     interpretation of what the science teaches us, that I can hear
9:58AM   24     both sides not from the lawyers, but from experts in those
9:58AM   25     fields.
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9:58AM   1                 MR. OLSEN:     Your Honor, one more question.
9:58AM   2                 THE COURT:     Yes.
9:58AM   3                 MR. OLSEN:     If you would give a little guidance on
9:58AM   4      the scope of that hearing.        I think our biggest concern is that
9:58AM   5      we don't want to be two ships passing in the night where we
9:58AM   6      both are talking about the same topics so Your Honor can get
9:58AM   7      the benefit of --
9:58AM   8                 THE COURT:     Yes.
9:58AM   9                 MR. OLSEN:     And in our initial meet and confer
9:59AM   10     process, I think the two sides have very different views as to
9:59AM   11     what we should be covering substantively at science day, and we
9:59AM   12     will continue to meet and confer and hopefully work it out.
9:59AM   13                THE COURT:     Hopefully you can share with me what
9:59AM   14     y'all are thinking, and I might tell you, "Don't bother on that
9:59AM   15     issue."
9:59AM   16                MR. OLSEN:     All right.
9:59AM   17                THE COURT:     "This is the one I really think is
9:59AM   18     important," or if I think y'all are not addressing an issue.                I
9:59AM   19     tried to raise some today.        I wasn't casual about it.         I was
9:59AM   20     just trying to tell you some of the issues that that mean
9:59AM   21     something, to me mean something, and in which -- but there may
9:59AM   22     be science issues fundamental to this case that I don't know
9:59AM   23     y'all disagree on.     You know it.       I don't know it, and I need
9:59AM   24     to understand those issues.
9:59AM   25                MR. OLSEN:     Are you still thinking one or two experts
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 9:59AM   1      per side for a few hours?
 9:59AM   2                 THE COURT:     Yes.    Yeah, two hours each side.         I can't
 9:59AM   3      absorb more than that.
 9:59AM   4                 MR. THOMPSON:      Judge, my mind is racing with a
 9:59AM   5      variety of things, one of which would be to come up with not an
 9:59AM   6      agenda, but simply a series of topic areas --
10:00AM   7                 THE COURT:     Correct.
10:00AM   8                 MR. THOMPSON:      -- and then run that by you, but it
10:00AM   9      strikes me that we should use our best efforts to do that and
10:00AM   10     then have input from the Court so that we have that organized.
10:00AM   11                THE COURT:     I would love for you -- because you know
10:00AM   12     better than me the issues in dispute.           I think I know some of
10:00AM   13     them.   I don't know all of them, and it may well be things that
10:00AM   14     I have perceived to be disputed aren't really disputed, but
10:00AM   15     some portion of that issue is in dispute, and I just need some
10:00AM   16     help from you, because I don't want to waste any of our time
10:00AM   17     here.   I want it to be something that we're kind of zeroing in
10:00AM   18     on the important scientific questions here.
10:00AM   19                       And so yeah, I would hope that maybe -- you
10:00AM   20     know, we got a little time between now and September; that
10:00AM   21     y'all would meet and confer, you'd share with me your list.               If
10:00AM   22     y'all disagree fundamentally, you can share with me both lists,
10:00AM   23     and I might go through and say -- and you might explain to me
10:00AM   24     why you think that -- if you don't have an agreement, why you
10:01AM   25     think one side or the other thinks that's an important issue to
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10:01AM   1      address.   And so we got to give a little structure to our
10:01AM   2      experts.   We don't just say, "Go for it."            Right?    I mean, they
10:01AM   3      know they all have assignments.           So if you have two experts,
10:01AM   4      one of them may -- knows he's taking issues A, B, and C.                   The
10:01AM   5      other one is C, D, and E.       You know, they know what they're
10:01AM   6      doing.
10:01AM   7                        And I will say also that if the expert thinks
10:01AM   8      there might be some preliminary reading, not to the volume
10:01AM   9      you've already given me, but something that I might read ahead
10:01AM   10     of time, I'm game for doing that, but not -- but not ten
10:01AM   11     articles each or 20 articles.           Let me just say after a while,
10:01AM   12     they're pretty tiresome, okay?           You know, but I have to
10:01AM   13     appreciate that y'all probably read a hundred articles each to
10:01AM   14     get to the 10 that -- but I did note with interest that not one
10:02AM   15     of you -- not one article did y'all both put in.               Completely
10:02AM   16     different set of authorities.           Yes?
10:02AM   17                MR. LONDON:     Your Honor, yes.        Just in terms of --
10:02AM   18     and we will with this time certainly meet and confer over our
10:02AM   19     two lists that are set forth in the status report, topic areas.
10:02AM   20     In terms of the presentation by the experts, having done a
10:02AM   21     bunch of these science days before historically, and these
10:02AM   22     parameters all make sense, while the expert is lecturing, it's
10:02AM   23     not a direct exam, but it has helped if there is --
10:02AM   24                THE COURT:     We're not doing that.
10:02AM   25                MR. LONDON:     No, I mean, it's not a direct, but if
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10:02AM   1      one --
10:02AM   2                 THE COURT:     They're going to stand right here at the
10:02AM   3      podium.
10:02AM   4                 MR. LONDON:     Okay.
10:02AM   5                 THE COURT:     And they're going to talk.
10:02AM   6                 MR. LONDON:     Not in the witness box?
10:02AM   7                 THE COURT:     No, no, not in the witness -- they're
10:02AM   8      going to stand right there at that podium, and they're going to
10:02AM   9      talk, and I'm going to ask them questions.
10:02AM   10                MR. LONDON:     Okay.
10:02AM   11                MR. THOMPSON:      Judge, I don't think I can reach him
10:02AM   12     from here.   Will I be able to --
10:02AM   13                THE COURT:     Y'all get one of those long sticks.             But
10:03AM   14     no, this is not lawyer driven.          This is -- you know, I'm
10:03AM   15     looking to -- and, you know, I'm going to be asking questions,
10:03AM   16     that will leave one side or the other uncomfortable.              Tough.
10:03AM   17     Okay?    I'm just trying to figure the science out.
10:03AM   18                       Just responses here today, I know there's really
10:03AM   19     significant differences on a lot of issues that are important,
10:03AM   20     and I hear both sides, and I just -- you know, I'm going to one
10:03AM   21     day have to address these issues, and I'd like to do it in a
10:03AM   22     more informed way than I'm capable of doing right now.
10:03AM   23                       So written discovery.        Where are we on written
10:03AM   24     discovery?
10:03AM   25                MR. LONDON:     Your Honor, in terms of the plaintiffs'
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10:03AM   1      side, we had provided -- and I think we've talked about this --
10:03AM   2      informal discovery six questions by email following a meet and
10:03AM   3      confer about three plus weeks ago.          Maybe we'll get some
10:04AM   4      answers.   They were really done to avoid 30(b)(6) questions.
10:04AM   5      Really simple.
10:04AM   6                 THE COURT:     Yes.
10:04AM   7                 MR. LONDON:     Which products did you make, the names,
10:04AM   8      over what years?
10:04AM   9                 THE COURT:     Correct.
10:04AM   10                MR. LONDON:     Hopefully we'll get some answers.              In
10:04AM   11     terms of the other discovery, the master discovery on behalf of
10:04AM   12     the personal injury claimants, the government entities, the
10:04AM   13     private well owners, states, et cetera, we hope to serve a
10:04AM   14     master set of discovery, keeping with Your Honor's suggestions
10:04AM   15     at the last conference, serve it informally on the defendants
10:04AM   16     within a few weeks, discuss that with them, see if there's
10:04AM   17     anything that may need to be fine tuned, and then short order
10:04AM   18     after that, it's deemed officially served and --
10:04AM   19                THE COURT:     Okay.    You know, I entered a stay
10:04AM   20     initially just while we got organized.           Does anybody oppose me
10:04AM   21     lifting the stay on discovery?          I just think I will do it.         I
10:04AM   22     didn't intend to do it for any other reason other than to not
10:04AM   23     have people noticing depositions while I'm trying to pick a
10:05AM   24     Plaintiffs' Executive Committee, right?           So I'm going to -- I'm
10:05AM   25     going to lift the stay.
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10:05AM   1                        But I do think a lot of times -- and this is why
10:05AM   2      I suggested talking to Ms. Williams, is that a lot of times you
10:05AM   3      could ask the question in a certain way that makes it really
10:05AM   4      hard to answer it, but there's an easier way to get exactly the
10:05AM   5      same information.     You don't even know that it's available, but
10:05AM   6      if you talk to the other lawyer and that lawyer talks to his or
10:05AM   7      her people, then suddenly you're -- I had this hearing the
10:05AM   8      other day where some lawyer asked a not particularly important
10:05AM   9      question in the case, and his opposing counsel gave him a
10:05AM   10     million documents back, and his excuse was, "Well, I just put
10:05AM   11     in some search words.      This is what I got."           Of course it's on
10:05AM   12     six CDs.    I was like, "That's like giving nothing.             I mean,
10:05AM   13     it's just ridiculous."      And even if they had gotten what they
10:06AM   14     wanted, it wasn't important.        So I said, "You got to use some
10:06AM   15     judgment here and talk to each other, and if it's going to
10:06AM   16     produce -- if a search is going to produce a million documents,
10:06AM   17     your search words aren't good, right?           I mean, you're just too
10:06AM   18     general."
10:06AM   19                       So anyway, I do think consulting back and forth,
10:06AM   20     and to the extent you can't work it out, make motions.                I'll
10:06AM   21     rule.   I'm glad to do that.       I'll do it expeditiously.
10:06AM   22                 MR. OLSEN:    Your Honor, the only other point I would
10:06AM   23     like to make on this, and we're not -- we haven't in the meet
10:06AM   24     and confer process suggested to the PEC to limit themselves to
10:06AM   25     what they ask for, and we've been conducting it informally, but
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10:06AM   1      we're about to produce as soon as Your Honor enters a
10:06AM   2      protective order to compel production just for the benefit of
10:06AM   3      some context here, just 3M, for example, produced 250,000
10:06AM   4      documents and 3 million pages.           We searched 124 custodians.
10:06AM   5      Search terms were negotiated.           There were 65 or so substantive
10:06AM   6      search terms around foam, around the topics that are in issue
10:07AM   7      here.   We would suggest rather than getting just master
10:07AM   8      discovery that asks for everything and millions and millions of
10:07AM   9      pages of documents, that the PEC look at what they have
10:07AM   10     already, and that might narrow the focus --
10:07AM   11                THE COURT:     Well, you ought to direct that to them,
10:07AM   12     Mr. Olsen, and talk to them.        I will tell you that the worst
10:07AM   13     thing that a lawyer could get when they ask for millions of
10:07AM   14     documents is to actually receive them, right?
10:07AM   15                MR. OLSEN:     Yep.
10:07AM   16                THE COURT:     Then how do you -- how do you manage
10:07AM   17     those millions of documents?        They don't want a bunch of stuff
10:07AM   18     that's not relevant to their case either.             So talk to them, and
10:07AM   19     obviously the production -- we'll quickly look at this
10:07AM   20     protective order, because I do think it's important that the
10:07AM   21     prior discovery in the Bell case will certainly -- not only
10:07AM   22     will it give them substantively a lot of information, it may
10:07AM   23     give them ideas about what to ask for and how that information
10:08AM   24     is organized and what seems to be better than others.
10:08AM   25                       Okay.   I guess one could say that I perhaps have
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10:08AM   1      not -- have jumped the gun on the State of New York Motion to
10:08AM   2      Remand.   Who's here from New York on this issue?
10:08AM   3                  MR. SINKMAN:    Good morning, Your Honor.
10:08AM   4                  THE COURT:    You got anything to add not in the brief?
10:08AM   5                  MR. SINKMAN:    Well, Your Honor, expectations are low,
10:08AM   6      so I have that going for me.        We will be filing a reply, and I
10:08AM   7      prefer to put my arguments in that reply.
10:08AM   8                  THE COURT:    Okay.    I won't rule until your reply
10:08AM   9      comes in.    Replies are optional in our district, but I will
10:08AM   10     await your reply with bated breath.
10:08AM   11                 MR. SINKMAN:    Thank you, Your Honor.
10:08AM   12                 THE COURT:    I will not do this, however.          My -- one
10:08AM   13     of my colleagues has a red stamp.          It says "Denied".      I promise
10:08AM   14     not to return your reply with a stamp that says "Denied".
10:08AM   15                 MR. SINKMAN:    I appreciate that, Your Honor.           And I
10:09AM   16     will say that we do disagree with some of the points you made,
10:09AM   17     and I hope you look at our papers with an open mind.
10:09AM   18                 THE COURT:    Very good.      I will look for it.
10:09AM   19                 MR. PETROSINELLI:      We can get you a yellow stamp,
10:09AM   20     Your Honor.
10:09AM   21                 THE COURT:    Yes.
10:09AM   22                 MR. SINKMAN:    For the court reporter, my name is
10:09AM   23     Matthew Sinkman.
10:09AM   24                 THE COURT:    Thank you very much.        I hope you got a
10:09AM   25     good meal last night.      I don't want -- your trip won't be
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10:09AM   1      totally wasted to Charleston.
10:09AM   2                        What is our information we have about -- I know
10:09AM   3      there have been numbers bandied around about the number of
10:09AM   4      sites that are allegedly contaminated.           How much information do
10:10AM   5      we have about the number of sites and how much alleged
10:10AM   6      contamination there is?       I mean, the testing of wells, what has
10:10AM   7      been done?    What's sort of out there already that we know
10:10AM   8      about?    Mr. Napoli, you know something about all of this?
10:10AM   9                 MR. NAPOLI:     We have been following it pretty
10:10AM   10     closely.    I would say in the MDL, I think Your Honor is right.
10:10AM   11     We probably have about 15 to 20 sites identified where there's
10:10AM   12     either medical monitoring or there is some action filed, but
10:10AM   13     there have been various reports by the Department of Defense
10:10AM   14     that have identified upward of 400 military sites that have
10:10AM   15     findings of PFOS with AFFF foam, and in our office we've been
10:10AM   16     looking state by state.       I know in New York, New York has
10:10AM   17     identified not only Air Force bases, but civil aviation that
10:10AM   18     have AFFF foam and county firefighting facilities.              In New
10:11AM   19     York, we have 62 counties.        Each of them have their own
10:11AM   20     firefighting training facility.          Each of them have been
10:11AM   21     identified with firefighting foam.
10:11AM   22                       I've talked to other states and other attorneys
10:11AM   23     in other states.     Some states have a centralized fire training
10:11AM   24     center.    Others have county by county.         We believe those are
10:11AM   25     going to be issues.
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10:11AM   1                        There's also industrial sites.           For example, one
10:11AM   2      case we have here out of Marinette, Wisconsin with Chemguard,
10:11AM   3      they would produce their AFFF foam and then test it in the
10:11AM   4      neighborhood, and that contaminated some wells.               That case is
10:11AM   5      in front of Your Honor as well.
10:11AM   6                        So it's not only going to be government sites.
10:11AM   7      It will be industrial sites.        There will also be civil fire
10:11AM   8      training sites.
10:11AM   9                        The products were also used, Your Honor, in the
10:11AM   10     fire suppression systems in many buildings.               We have a number
10:12AM   11     of cases where that may be the source.
10:12AM   12                       Car fires in some counties that we've --
10:12AM   13                 THE COURT:    I saw a video of a building online where
10:12AM   14     the foam went way up in the building.           I don't know where it
10:12AM   15     went after.
10:12AM   16                 MR. NAPOLI:    So Newburgh, for example, which is a
10:12AM   17     case before Your Honor, they did use it for training.                They did
10:12AM   18     use it --
10:12AM   19                 THE COURT:    Yeah, I think it was a training film is
10:12AM   20     what I saw.
10:12AM   21                 MR. NAPOLI:    Well, they used it for training, and
10:12AM   22     that specific site had an exposure involving training, an
10:12AM   23     exposure just involving the firefighters by accident spilling
10:12AM   24     it, an actual emergency situation with a FedEx airplane, and
10:12AM   25     then a hangar situation where the fire suppression system
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10:12AM   1      released the foam from floor to ceiling, and all of them have
10:12AM   2      been identified as potential reasons why --
10:12AM   3                  THE COURT:     Now, Mr. Napoli, here is the next
10:12AM   4      question.    For those sites, however many number we're talking
10:12AM   5      about, how much study has been done on whether there is
10:12AM   6      abnormal levels of PFOS or PFOA in the water supply?
10:13AM   7                  MR. NAPOLI:     Okay.    It varies site by site.         Taking
10:13AM   8      Newburgh as an example, they shut the water system down for a
10:13AM   9      period of time.      There was an extensive study by the New York
10:13AM   10     State EEC.    I believe the DOD has also been involved in some of
10:13AM   11     the studies.      There's been community groups and lawyers
10:13AM   12     involved in looking at what's going on.
10:13AM   13                       If we go back for a second in Bell and Your
10:13AM   14     Honor's idea of a progression in the cases from the water
10:13AM   15     provider to medical monitoring, personal injury, I think that
10:13AM   16     is what Judge Jackson had implemented in our Colorado case.                 We
10:13AM   17     began with -- there wasn't a water provider that brought suit,
10:13AM   18     even though it was a second most contaminated site in the
10:13AM   19     country.    The water provider at that time did not bring a suit.
10:13AM   20     They recently have, one of the three, which will be -- is on
10:14AM   21     transfer to Your Honor.
10:14AM   22                       So we began with the monitoring case.            We told
10:14AM   23     all the other personal injury cases and the monitoring cases
10:14AM   24     because of the unique nature of the law of monitoring in
10:14AM   25     Colorado, and Judge Jackson wanted to address monitoring.                  So
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10:14AM   1      what we did is we did 30(b)(6)s of the water districts.               We
10:14AM   2      learned how their distribution system worked.              We then took
10:14AM   3      that information, understanding all their testing, who was
10:14AM   4      exposed.   The class then got limited to those people who would
10:14AM   5      have had exposure from those wells that were contaminated.
10:14AM   6                        We then did a dosing analysis with our experts
10:14AM   7      who then would identify based on duration and time under the
10:14AM   8      existing HAL, which was 70 parts per trillion, whether or not
10:14AM   9      these people were at risk for any of the --
10:14AM   10                THE COURT:     And were they above -- did you find
10:14AM   11     whether there were some above that number?
10:14AM   12                MR. NAPOLI:     Some were above.       Some were not, and we
10:14AM   13     were in the process of arguing that.           The judge had issued two
10:15AM   14     decisions I believe that sort of addressed the state of what he
10:15AM   15     believed medical monitoring was in Colorado.              There's no law
10:15AM   16     for medical monitoring, legislation that allows medical --
10:15AM   17                THE COURT:     It's almost all case law is what I see
10:15AM   18     out there.
10:15AM   19                MR. NAPOLI:     There's case law.       It was a District
10:15AM   20     Court, well respected District Court Judge had issued an
10:15AM   21     opinion, and then Judge Jackson made his determination that he
10:15AM   22     believed that Colorado would recognize medical monitoring, and
10:15AM   23     we were proceeding into the hearing.           And he was at the stage
10:15AM   24     where Your Honor is where he was about to hear testimony from
10:15AM   25     some of the experts to make a determination how broad the
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10:15AM   1      medical monitoring should be, who it would encompass, what
10:15AM   2      level of exposure --
10:15AM   3                 THE COURT:     You know, you keep talking, they're going
10:15AM   4      to jump up and say, "Well, he didn't rule," so don't do that.
10:15AM   5      I've actually read all the transcripts, okay?             So I'm not --
10:15AM   6                 MR. NAPOLI:     He did rule in the sense that he wrote
10:15AM   7      an opinion that I think is instructive, at least on what was
10:16AM   8      going on in his courtroom.        Some -- and we're certainly --
10:16AM   9                 THE COURT:     But I'm going to make my own independent
10:16AM   10     determination on this --
10:16AM   11                MR. NAPOLI:     Sure.
10:16AM   12                THE COURT:     -- but I read the transcript.          It was
10:16AM   13     very interesting frankly.       I thought the whole discussion on
10:16AM   14     both sides was very interesting, and it gives us a lot -- so, I
10:16AM   15     mean, that's the kind of -- and I'll -- you know, you never
10:16AM   16     quite know how in your own brain you sort of come to think
10:16AM   17     about things, but a lot of what you just described is sort of
10:16AM   18     where I want to get and to see -- okay.           We've got Colorado.
10:16AM   19     Are there other sites as well in which -- I know the government
10:16AM   20     is doing a fair amount of testing.          You know, I don't know how
10:16AM   21     much you guys in the Bell case had the government's testing.
10:16AM   22     Did you have access to that?
10:16AM   23                MR. NAPOLI:     The government water district was doing
10:16AM   24     testing.   The --
10:16AM   25                THE COURT:     How about the U.S. -- I mean, I know the
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10:16AM   1      U.S. Government has been doing some testing itself trying to
10:16AM   2      determine the scope of the problem.
10:16AM   3                 MR. NAPOLI:     Yes.
10:16AM   4                 THE COURT:     Did you in Colorado have access to that
10:16AM   5      information?
10:16AM   6                 MR. NAPOLI:     Yes.
10:16AM   7                 THE COURT:     Okay.
10:16AM   8                 MR. NAPOLI:     So there were private contractors of --
10:17AM   9      for the water districts that also accumulated information.
10:17AM   10     There was the government information.           Right now the federal
10:17AM   11     government has set aside money and -- to do health testing.
10:17AM   12     They're doing it at PC Air Force Base and another -- other
10:17AM   13     bases around the country.
10:17AM   14                THE COURT:     Are they doing it to people who do not
10:17AM   15     reside on the base but live nearby?
10:17AM   16                MR. NAPOLI:     But they're doing former military, I
10:17AM   17     believe people on the base, and in certain circumstances I
10:17AM   18     believe people nearby.      In Colorado, Colorado School of Mines,
10:17AM   19     which is a state entity, but with people that are very
10:17AM   20     knowledgeable on environmental health and occupation, they did
10:17AM   21     testing of people's blood in the community.               We also did our
10:17AM   22     own testing.
10:17AM   23                THE COURT:     See, I think all this information is
10:17AM   24     going to end up -- the accumulation of this information here
10:17AM   25     from all different kinds of sources is going to end up being
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10:17AM   1      really important to sorting out a lot of these issues.               And I
10:17AM   2      kidded y'all a little bit we're asking the question we don't
10:18AM   3      know the answer to.     We don't know -- you know, I don't know
10:18AM   4      the answer to it, and I imagine we're going to have a fair
10:18AM   5      amount of scholarship out there, people studying the data y'all
10:18AM   6      are gathering trying to figure out what it tells us.              And let
10:18AM   7      me just say, folks, I know that you can't yourselves, the
10:18AM   8      lawyers, control what scholarship gets published in
10:18AM   9      peer-reviewed literature.       You shouldn't control it, right?
10:18AM   10     And as we all say in some cases, you had suspicions some of it
10:18AM   11     was driven by lawyers, but, you know, it would be like really
10:18AM   12     good to have scholars, researchers not tied to either side here
10:18AM   13     analyze some of this data and share with us some of the
10:18AM   14     findings.   I mean, I would find that very helpful.             I mean, it
10:18AM   15     may well be that I will consider down the road appointing my
10:18AM   16     own science expert to help me, you know, organize all of this,
10:19AM   17     because we really do need independent assessment.
10:19AM   18                       And, folks, you're going to be gathering really
10:19AM   19     cutting edge information here that is largely unknown right
10:19AM   20     now.   I mean, literally they're drawing blood in Colorado.               I
10:19AM   21     mean, has anybody actually done a -- written an article on that
10:19AM   22     and what it tells us?      I mean, that would be pretty important.
10:19AM   23     I didn't have it in my ten articles.           You know, I think that
10:19AM   24     would be a valuable thing to know.
10:19AM   25                       Mr. London, you --
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10:19AM   1                 MR. LONDON:     I was just going to add, Your Honor,
10:19AM   2      that's precisely what happened out of the settlement
10:19AM   3      previously, and there were the 72,000 members that were studied
10:19AM   4      by three epidemiologists.
10:19AM   5                 THE COURT:     Yes.
10:19AM   6                 MR. LONDON:     Plaintiff/defense unified picked, and it
10:19AM   7      yielded -- it was one of the largest epidemiological studies.
10:19AM   8      72,000 people in the community --
10:19AM   9                 THE COURT:     Right.    And y'all think -- legitimate
10:19AM   10     point.   This was the manufacturer of the chemical.             It's not
10:19AM   11     exactly the same, but it would be -- you know, I think in some
10:20AM   12     ways in what we're going to be doing here, we may be gathering
10:20AM   13     the underlying data that would answer a lot of the scientific
10:20AM   14     questions that I think frankly are in dispute, but the data may
10:20AM   15     answer the question for us if we just, you know, organize it.
10:20AM   16                       Yes, sir?
10:20AM   17                MR. NAPOLI:     The CDC is also doing a study on
10:20AM   18     children, and I don't know to the extent that Ms. Williams can
10:20AM   19     help us identify what studies are going on and what stage
10:20AM   20     they're at.    I mean, that -- the government is doing more
10:20AM   21     testing than anyone at the moment.
10:20AM   22                THE COURT:     Correct.      Y'all, I might be missing
10:20AM   23     something.    I think Ms. Williams is trying to be a facilitator,
10:20AM   24     giving -- kind of a neutral presenter of whatever data she has.
10:20AM   25     Is that fair, Ms. Williams, that you're trying to do that?
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10:20AM   1                 MS. WILLIAMS:      Yes, Your Honor.        And in the voluntary
10:20AM   2      disclosures, the CDC section speaks to what they're doing now.
10:20AM   3      One of the biggest things they're doing is these environment
10:20AM   4      assessments, and those are -- one of those is at Peterson Air
10:20AM   5      Force base.   They've identified sites around the country for
10:21AM   6      those assessments.
10:21AM   7                 THE COURT:     And I know Congress has -- you and I
10:21AM   8      talked last night about this.           Congress has a lot of interest
10:21AM   9      in this as well.     They're --
10:21AM   10                MS. WILLIAMS:      There has been a lot of congressional
10:21AM   11     interest, yes, sir.
10:21AM   12                THE COURT:     Yeah.    So I think we're -- you know,
10:21AM   13     we're going to be in the middle of the -- in some ways this is
10:21AM   14     going to be a very dynamic process as this litigation goes on,
10:21AM   15     and some things which are very unfocused right now may soon
10:21AM   16     become very focused as we come to learn more about this.
10:21AM   17                       Let me ask a question about the -- let's say
10:21AM   18     hypothetically that you wanted to do some monitoring.                Are
10:21AM   19     there tests, screening tests that would be not particularly
10:21AM   20     involved -- blood tests, et cetera -- that may provide as a
10:21AM   21     screening device some information about AFFF toxicity?                Are
10:21AM   22     there tests out there?
10:22AM   23                MR. LONDON:     Yes, Your Honor.        It's a blood test, and
10:22AM   24     it's not necessarily the AFFF toxicity.
10:22AM   25                THE COURT:     PFOS?
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10:22AM   1                 MR. LONDON:     Precisely.       That's the acronym.       PFOS,
10:22AM   2      PFOA.   Yes, that was -- that's the model.
10:22AM   3                 THE COURT:     And that's just a simple blood draw?
10:22AM   4                 MR. NAPOLI:     There is a protocol that -- I'm sorry.
10:22AM   5                 MR. LONDON:     Go ahead.
10:22AM   6                 MR. NAPOLI:     So in New York there has been appointed
10:22AM   7      by the governor several physicians, one whom my partner had
10:22AM   8      mentioned to me who is -- the state is actually referring
10:22AM   9      people to this physician who has a whole protocol.               As I stand
10:22AM   10     here today, I do not know the protocol, but --
10:22AM   11                THE COURT:     You know, I saw in one of these things --
10:22AM   12     I know it's early in the process -- somebody proposed, "Well,
10:22AM   13     we're just going to send everybody over for a physical."                   That
10:22AM   14     doesn't make any sense to me.           You'd over-evaluate people, and
10:22AM   15     you would have all these conditions.            "Oh, they have
10:22AM   16     hypertension.     I guess that's caused by PFOS."           I mean, that
10:22AM   17     wouldn't be very helpful to anybody.            But there are things that
10:22AM   18     to me -- and I'd like -- very much like to see this New York
10:23AM   19     protocol the doctor's come up with, and you could get it, share
10:23AM   20     it with defense, and share it with the Court.              I mean, I'm
10:23AM   21     interested, but to me what would make most sense -- and maybe
10:23AM   22     somebody will tell me it doesn't, some expert will tell me it
10:23AM   23     doesn't -- you'd have some kind of threshold screening of that
10:23AM   24     test that would not be particularly expensive or involved, and
10:23AM   25     if it produced a -- a positive result, that is a result showing
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10:23AM   1      some elevated blood levels or whatever, then you might have a
10:23AM   2      second wave of evaluation based upon that finding.              Yes, sir?
10:23AM   3                 MR. NAPOLI:     And, Your Honor, that's exactly our
10:23AM   4      medical monitoring claim and what we were talking about in
10:23AM   5      front of Judge Jackson and he was talking about; is to have
10:23AM   6      that initial testing, determine whether they -- those people
10:23AM   7      need additional follow-up and what exactly that follow-up was.
10:23AM   8                 THE COURT:     Correct.      That's exactly my thinking on
10:23AM   9      this.   And, you know, you tell me we have 15 to 20 sites.                If
10:24AM   10     we got to the point where we could -- I mean, there are all
10:24AM   11     these issues.     Can you define the class?        Is there a meaningful
10:24AM   12     way to define this class that would meet Rule 23 requirements?
10:24AM   13     And are there tests that would give us meaningful information?
10:24AM   14                       Then my idea would be not to pick to do this in
10:24AM   15     15 to 20 sites.     We couldn't do them in states that don't allow
10:24AM   16     medical monitoring, but we might pick one or two, and let's
10:24AM   17     just test drive the thing and see what it teaches us.               And it
10:24AM   18     may be after, you know, 18 months of this, we'll say, "This is
10:24AM   19     like not giving us anything worth having," or it might tell us
10:24AM   20     we're on to something, or might tell us that we're not doing it
10:24AM   21     exactly right but there's a better way to do it.
10:24AM   22                       But I think we need to be thinking about --
10:24AM   23     these are the kind of questions I have.           Is there a meaningful
10:24AM   24     way to define a zone of danger if you were going to do a --
10:25AM   25     based on location at a site?        And how would you define that?
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10:25AM   1      And then if you were going to allow medical monitoring, what
10:25AM   2      could you do that would not be incred -- that would produce
10:25AM   3      information worth having, you know?          I mean, I don't want to do
10:25AM   4      it just for the sport of doing a medical monitoring.
10:25AM   5                        But, you know, if we did medical monitoring and
10:25AM   6      you found out A, there are a lot of people with elevated blood
10:25AM   7      levels, a lot more than you'd expect in the general population,
10:25AM   8      that's a finding that would be very meaningful.             Here's another
10:25AM   9      finding.   It's not, right?       It's not elevated, even where
10:25AM   10     places -- it's not elevated.        Maybe there will be arguments
10:25AM   11     that the test isn't the right test or whatever.             I mean, I'm
10:25AM   12     hoping to hear anything, but I just -- I think that's
10:25AM   13     potentially valuable information to have and something that
10:25AM   14     could help guide the litigation and help inform the lawyers
10:26AM   15     about -- I mean, I know if you ask the plaintiffs' counsel,
10:26AM   16     they would say, "This is like one of the greatest environmental
10:26AM   17     tragedies in the history of man."          And the defense lawyers
10:26AM   18     said, "I'll drink it by the bottle, and it won't hurt us."                You
10:26AM   19     know, so somewhere the truth may lie, you know, and we've got
10:26AM   20     to figure out what is it, what it is, you know, unemotionally,
10:26AM   21     rigorously, scientifically looking at the data.             You know,
10:26AM   22     what's the answer here?
10:26AM   23                MR. PETROSINELLI:       Can I give you one thought on
10:26AM   24     that, Judge?
10:26AM   25                THE COURT:     You're not offering to drink it.
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10:26AM   1                 MR. PETROSINELLI:       No, I'm not.      I'm not.    I would
10:26AM   2      say two things, because Colorado, that's a good example.                  What
10:26AM   3      we found in the plaintiffs who -- or putative class members,
10:26AM   4      it's all over map in terms of their blood level who got blood
10:26AM   5      tests.    Some of them had none.        Some of them had in the single
10:26AM   6      digit parts per trillion, and some of them had, as Mr. Napoli
10:26AM   7      said, over 70 parts per trillion.          That's one thing.
10:26AM   8                        The second thing --
10:26AM   9                 THE COURT:     70 parts per trillion.          That's the water
10:26AM   10     supply you're talking about?
10:26AM   11                MR. PETROSINELLI:       Yeah, people who the claim was
10:27AM   12     that they drank water from --
10:27AM   13                THE COURT:     But we're not talking about their blood
10:27AM   14     serum levels.     We're talking -- are we talking about blood
10:27AM   15     serum levels?
10:27AM   16                MR. PETROSINELLI:       Yes, sir.
10:27AM   17                THE COURT:     Okay.    So we're talking about people who
10:27AM   18     were identified living in an area which had contaminated water,
10:27AM   19     and then we're talking about they took blood tests, and some of
10:27AM   20     them had elevated in their blood, accumulated levels above even
10:27AM   21     the 70 parts whatever.
10:27AM   22                MR. PETROSINELLI:       But a lot didn't, and then the
10:27AM   23     question is -- and you hit on it earlier -- what does that
10:27AM   24     mean?    Because you can be sure that the EPA when they do this
10:27AM   25     as a regulatory matter, if they think the level that causes
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10:27AM   1      harm is 71 parts per trillion, they don't set the level at 70
10:27AM   2      parts per trillion.     There's a massive --
10:27AM   3                 THE COURT:     But, you know, they originally set it at
10:27AM   4      400, and then they went to 70, and they haven't issued a final,
10:27AM   5      so it may be very dynamic about what that number is.              New
10:27AM   6      Jersey is what?     What's New Jersey's number?
10:27AM   7                 MR. PETROSINELLI:       13 or something.
10:27AM   8                 THE COURT:     So, I mean, again, what is it worth?            I
10:27AM   9      mean, I think we got to -- you know, I think --
10:27AM   10                MR. PETROSINELLI:       But it gets to the general
10:27AM   11     causation question, which is I guess what science day will get
10:28AM   12     you a start on, which is what is the level -- you know, in
10:28AM   13     toxicology you have the basic principle of dose matters, right?
10:28AM   14     Every substance is toxic.
10:28AM   15                THE COURT:     You've read my Lipitor order.          Dose
10:28AM   16     matters.
10:28AM   17                MR. PETROSINELLI:       And so the question is at what
10:28AM   18     level is there evidence that these compounds cause any --
10:28AM   19                THE COURT:     Well, that was one of my first questions
10:28AM   20     I raised here today when I was talking about this, is at what
10:28AM   21     level is this harmful to humans?          I think we know from the C8
10:28AM   22     work that at very high levels, it is really bad, okay?               But at
10:28AM   23     what level when you're not having that type of intense exposure
10:28AM   24     is it most probably something that causes injury?
10:28AM   25                       Mr. London?
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10:28AM   1                 MR. LONDON:     Your Honor, the proposal or outline of
10:28AM   2      or thinking that -- I don't want them to jump up and call it
10:28AM   3      proposal that Your Honor is thinking in terms this quasi
10:28AM   4      monitoring, and Mr. Napoli alluded to it starting in New York,
10:28AM   5      this is precisely what's going on and has gone on since '05 or
10:28AM   6      '06 in West Virginia with those 72,000 people.
10:29AM   7                 THE COURT:     Right.
10:29AM   8                 MR. LONDON:     Ongoing monitoring, simple blood draw.
10:29AM   9      And it really -- it wasn't lots and lots of stuff, this dose
10:29AM   10     that matters.     It was .05 parts per million.            That's nothing
10:29AM   11     for one year.     That was the exposure level.            So living there
10:29AM   12     and then still having .05 parts per --
10:29AM   13                THE COURT:     But it has the accumulated effect.
10:29AM   14                MR. LONDON:     It has accumulation, which is why you
10:29AM   15     can be removed, you can move to New York, and still have it in
10:29AM   16     you despite not living in a contaminated area.
10:29AM   17                THE COURT:     But what harm -- I mean, we're being
10:29AM   18     told -- and I don't know if it's true or not, but we're being
10:29AM   19     told that the whole world has some part of this; that somehow
10:29AM   20     this product through indirect, Teflon, whatever, we've all been
10:29AM   21     exposed to it, and then there's some minimal level, and I don't
10:29AM   22     know if it's been demonstrated having that sort of de minimis
10:29AM   23     level that everybody in this room has has caused harm.                But you
10:29AM   24     didn't bring this suit because the universe has it.               You are
10:29AM   25     claiming that there are people who have a great deal more
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10:29AM   1      exposure than that.
10:29AM   2                 MR. LONDON:     And that's correct.        And where we are
10:29AM   3      now -- and this is really what Your Honor started today's
10:30AM   4      discussion on, is these water providers -- and basically it's
10:30AM   5      to go backwards a little bit, the precautionary principles is
10:30AM   6      what's at play here.      If you know something is toxic, you must
10:30AM   7      remove it first and remediate and get what's toxic out.               We may
10:30AM   8      argue for some time -- and in fact they argued for seven years
10:30AM   9      down in -- eight years down in West Virginia about which
10:30AM   10     injuries were caused by .05 parts per million for one year.               It
10:30AM   11     turned out these three scientists ruled out close to 200 other
10:30AM   12     ailments, other cancers, other conditions.
10:30AM   13                THE COURT:     I saw that.
10:30AM   14                MR. LONDON:     And only found six.        And so right now
10:30AM   15     we're in this public health situation where this stuff is
10:30AM   16     toxic.   This stuff is bioaccumulative.          The precise injuries,
10:30AM   17     maybe we still need --
10:30AM   18                THE COURT:     Well, this is one of the reasons I
10:30AM   19     pointed out about medical monitoring in the water district
10:30AM   20     cases; that, you know, to the extent there is reasonable
10:30AM   21     science to support injury at a certain level of exposure, then
10:31AM   22     the water districts say, "We don't want to sell a contaminated
10:31AM   23     product, a contaminated product."          That's all -- as long as
10:31AM   24     that's a reasonable scientific basis for that, that's a claim.
10:31AM   25                MR. LONDON:     That's a claim.
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10:31AM   1                 THE COURT:     But the person who drank that water may
10:31AM   2      not have a claim if you can't prove more likely than not that
10:31AM   3      it caused them injury.      Now, that's a different case, and they
10:31AM   4      may live in the same community and drink that water, but that's
10:31AM   5      a different issue, a more demanding issue for the plaintiffs to
10:31AM   6      prove.
10:31AM   7                 MR. LONDON:     And in those Ohio cases, those injury
10:31AM   8      claims took --
10:31AM   9                 THE COURT:     Years.
10:31AM   10                MR. LONDON:     -- eight years.
10:31AM   11                THE COURT:     Right.
10:31AM   12                MR. LONDON:     -- to -- for that science to
10:31AM   13     materialize.
10:31AM   14                THE COURT:     But I agree with you.           That's why the
10:31AM   15     sequencing here makes sense to me.
10:31AM   16                MR. LONDON:     Absolutely.
10:31AM   17                THE COURT:     And I really want to know -- you know,
10:31AM   18     obviously there's some -- there's no consensus out there on
10:31AM   19     what level is dangerous.       New Jersey's found one place.           The
10:32AM   20     original EPA is 400.      Then it's 70.      New Jersey is now 13.         I
10:32AM   21     mean, I want to hear the basis of this.           I mean, I don't think
10:32AM   22     people just threw a dart at a wall and picked a number.                I
10:32AM   23     mean, they had their own reasons, and my understanding is the
10:32AM   24     EPA is in the middle of trying to look at this itself, right?
10:32AM   25     And issued a -- I think -- what is done, an advisory, but not a
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10:32AM   1      prohibition; kind of mandated standard, is that correct?
10:32AM   2                 MR. PETROSINELLI:       Yeah, they have a health advisory
10:32AM   3      level in drinking water.       That's the 70 parts per trillion, and
10:32AM   4      they're looking now at whether they're going to establish an
10:32AM   5      actual MCL, a maximum contaminant level, which would actually
10:32AM   6      be a requirement.     It wouldn't just be an advisory.
10:32AM   7                 THE COURT:     So water districts would prohibited from
10:32AM   8      selling.
10:32AM   9                 MR. PETROSINELLI:       Correct.
10:32AM   10                THE COURT:     Well, let me ask you this.         If a water
10:32AM   11     district comes in and says, "We've looked at the science.                 We
10:32AM   12     think New Jersey is right.        This is 13 parts.       That's our
10:33AM   13     judgment, and we've hired consultants, and it's our good faith
10:33AM   14     belief that if we sell more than that, we're irresponsible, and
10:33AM   15     we have to remediate.      We have to get it below that level."            Is
10:33AM   16     that a claim?
10:33AM   17                MR. PETROSINELLI:       It's a claim.      It's not a
10:33AM   18     dispositive claim.
10:33AM   19                THE COURT:     So, I mean, obviously you got issues
10:33AM   20     about who caused it and all of those; right?
10:33AM   21                MR. PETROSINELLI:       There's different sources of PFOS
10:33AM   22     contamination --
10:33AM   23                THE COURT:     Correct.      You have to get all that, but
10:33AM   24     if you were -- if they were able to carry their burden of
10:33AM   25     proving whoever was responsible and they were -- happened to be
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10:33AM   1      a party in this lawsuit, potential claim; right?
10:33AM   2                 MR. PETROSINELLI:       Potential claim.
10:33AM   3                 THE COURT:     Yeah.
10:33AM   4                 MR. PETROSINELLI:       Subject to -- but there's the
10:33AM   5      government contractor defense.
10:33AM   6                 THE COURT:     I get all that.
10:33AM   7                 MR. PETROSINELLI:       And number 2, remember that's just
10:33AM   8      the nuisance claim.     They've asserted in this case negligence,
10:33AM   9      design defect.    Those are subject to the same -- you have to
10:33AM   10     prove causation.     It's not -- it's no different than the
10:33AM   11     personal injury claims.       You have to prove that these --
10:33AM   12                THE COURT:     But if their product is contaminated and
10:33AM   13     they can't sell it --
10:34AM   14                MR. PETROSINELLI:       They'd have a potential claim.
10:34AM   15                THE COURT:     -- they have a potential claim.
10:34AM   16     Mr. Summy?
10:34AM   17                MR. SUMMY:     Your Honor, I would like to address this.
10:34AM   18     Having represented public water providers for the last 20
10:34AM   19     years, this has been a very big issue in litigation and out of
10:34AM   20     litigation.   I think it's important to note that when you're
10:34AM   21     talking about MCLs that are set by different state
10:34AM   22     legislatures, those are really political numbers.
10:34AM   23                THE COURT:     They can be.
10:34AM   24                MR. SUMMY:     They very well can be, and so public
10:34AM   25     water providers, if they make a decision that, "Look, we're not
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10:34AM   1      going to put our constituents at risk or much less us at risk,"
10:34AM   2      they make these decisions.        They definitely have a claim, and
10:34AM   3      we want --
10:34AM   4                 THE COURT:     Well, Mr. Summy, let me say this.           It's
10:34AM   5      got to be -- have a reasonable scientific basis.
10:34AM   6                 MR. SUMMY:     Sure.
10:34AM   7                 THE COURT:     They can't do -- they can't also pick a
10:34AM   8      number and just say, "That's our number."            They have -- they
10:34AM   9      will have to come -- that's why I kept prefacing this that they
10:34AM   10     have to have a reasonable scientific basis for their number.
10:34AM   11                MR. SUMMY:     Absolutely.
10:34AM   12                THE COURT:     And they're just going to say, "While you
10:35AM   13     guys are over here litigating whether -- how much harm this
10:35AM   14     causes, we're not selling the product.           We are not engaging in
10:35AM   15     this."
10:35AM   16                MR. SUMMY:     That's correct.
10:35AM   17                THE COURT:     "You know, and putting -- letting our
10:35AM   18     customers be canaries in the mine to figure out when it kills
10:35AM   19     them."
10:35AM   20                MR. SUMMY:     Or what they do is they also will raise
10:35AM   21     money to filter it out, which is extremely expensive to filter
10:35AM   22     it out, and that becomes the basis of their claim is to get
10:35AM   23     reimbursement for the cost of treating the water.
10:35AM   24                THE COURT:     It could be, or it could be a claim that
10:35AM   25     they -- you know, prospectively they have to do something.
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10:35AM   1                 MR. SUMMY:     That's correct, Your Honor, because I
10:35AM   2      think one of the things that's very important here is to
10:35AM   3      realize that while these cases are going on -- and this Court
10:35AM   4      and the lawyers are going to play an incredible role in the
10:35AM   5      development of this -- there is exposure going on all over the
10:35AM   6      country, and these water providers have to make a choice of
10:35AM   7      whether or not to filter this water and to spend the money or
10:35AM   8      to at least make claims to address it, and I think the Court is
10:35AM   9      looking at this appropriately in that I think we should be
10:36AM   10     focused in the sequencing on stopping the exposure or
10:36AM   11     addressing the claims that are attempting to stop the exposure,
10:36AM   12     and then secondly address the medical monitoring, because that
10:36AM   13     sort of comes before we can get to the personal injuries.                 And
10:36AM   14     so I think the Court is looking at the sequencing of this
10:36AM   15     exactly right, and I think it's the appropriate way to do it.
10:36AM   16                THE COURT:     I'm not sure anybody -- yes, sir,
10:36AM   17     Mr. Napoli?
10:36AM   18                MR. NAPOLI:     I just want to add in New York and New
10:36AM   19     Jersey, there were science committees of epidemiologists and
10:36AM   20     public health officials who helped come up to make a
10:36AM   21     determination on their levels of 10 parts per trillion, 13
10:36AM   22     parts per trillion.     At the federal side, people on the ATSTR
10:36AM   23     came out with a report.
10:36AM   24                THE COURT:     What is ATS -- you're now doing what I
10:36AM   25     said -- you gotta tell me --
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10:36AM   1                  MR. NAPOLI:    I couldn't tell you what the acronym
10:36AM   2      stands for, but they are the part of the --
10:36AM   3                  THE COURT:    The worst part, to use an acronym, and
10:36AM   4      you don't even know what it means.
10:36AM   5                  MR. NAPOLI:    It is the -- of the EPA.         It's the
10:36AM   6      health arm of the EPA.
10:36AM   7                  THE COURT:    I gotcha.      I gotcha.    Okay.
10:37AM   8                  MR. NAPOLI:    They came out with 7 and 11 parts per
10:37AM   9      trillion.    What's going on now politically, to Mr. Summy's
10:37AM   10     point, federally, even though they've set a 70 parts per
10:37AM   11     trillion, the Department of Defense is going to have to clean
10:37AM   12     up the sites that are at whatever level is set as an MCL.                 So
10:37AM   13     there is argument -- the DOD is arguing that 400 parts per
10:37AM   14     trillion should be the cleanup level, and so there is political
10:37AM   15     aspect.   So each of these standards --
10:37AM   16                 THE COURT:    I can assure you of this.         We will not be
10:37AM   17     making here a political decision.
10:37AM   18                 MR. OLSEN:    Your Honor, I think that's the only point
10:37AM   19     the defense is going to make throughout here, is there's a lot
10:37AM   20     of politics going on in what's being discussed, and all we're
10:37AM   21     looking for is some scientific basis for those levels.
10:37AM   22                 THE COURT:    Right.    If y'all know anything about me,
10:37AM   23     I'm going to go to the science, and I'm going to -- we're going
10:37AM   24     to be rigorous about the science.
10:37AM   25                       Yes, sir.    Could you state your name, please?
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10:37AM   1                 MR. JACKSON:     Bill Jackson.        I represent the state of
10:37AM   2      New Jersey.   We have filed an AFFF case, excuse me, on Tuesday,
10:38AM   3      so it's not made its way here yet, but it will.              As everyone is
10:38AM   4      discussing, New Jersey has set levels right now at 13 parts per
10:38AM   5      trillion for PFOS, and 14 for PFOA in a rule making decision.
10:38AM   6      There are interim levels of 10 parts per trillion each while
10:38AM   7      that rule making is finished.           Another report that has come
10:38AM   8      down, PFNA has already been set at 14 parts per trillion.                  So
10:38AM   9      these are based upon years of science and data and process.
10:38AM   10                THE COURT:     Well, I would hope -- you know, we're
10:38AM   11     talking about science day, I would hope that both sides would
10:38AM   12     address the underlying scientific basis of these various
10:38AM   13     numbers.   I mean, I -- they're obviously distinctly different
10:38AM   14     from each other, and what was the reasoning and -- you know,
10:39AM   15     and where do they part ways?        What is it that is causing them
10:39AM   16     to part ways?
10:39AM   17                MR. JACKSON:     The science has evolved over time.
10:39AM   18     It's the Agency for Toxic Substances and Disease Registry which
10:39AM   19     is the United States agency that is under --
10:39AM   20                THE COURT:     Mr. Napoli, did you write that down?
10:39AM   21                MR. JACKSON:     It's under the Department of Health,
10:39AM   22     and in 2018, in the summer -- last summer 2018, they issued an
10:39AM   23     800-page report that was accumulating the --
10:39AM   24                THE COURT:     Is this CDC?       Is this a CDC agency?
10:39AM   25                MR. JACKSON:     Yes.
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10:39AM   1                 THE COURT:     Okay.
10:39AM   2                 MR. JACKSON:     And they didn't give you the number in
10:39AM   3      the document.     They told you how to calculate the math
10:39AM   4      basically.
10:39AM   5                 THE COURT:     And that number comes out to be what?
10:39AM   6                 MR. JACKSON:     Between 7 and 11 parts per trillion on
10:39AM   7      a cumulative basis.     So you've got a lot of the weight of the
10:39AM   8      science moving to these smaller and smaller levels.              As you
10:39AM   9      noted, originally the numbers were much higher, and it has
10:39AM   10     dropped over time.     So anyway, that's the evolution of it.
10:39AM   11     There's a great deal of scientific work that is going on, and
10:40AM   12     these state levels that are being set are based upon that data.
10:40AM   13                MR. PETROSINELLI:       Your Honor, could I throw one
10:40AM   14     other number at you?
10:40AM   15                THE COURT:     Absolutely.
10:40AM   16                MR. PETROSINELLI:       Just so you understand the range
10:40AM   17     here, today as we sit here, the United States Government, the
10:40AM   18     military says, "We still need this foam," and it can have in
10:40AM   19     it -- they just changed this in 2017, for PFOS and PFOA 800,000
10:40AM   20     parts per trillion.     800,000 parts per trillion.          They say, "As
10:40AM   21     long as the foam has less than that, we need it."              And that's
10:40AM   22     what the mil spec says today, and it says, "By the way, we'll
10:40AM   23     still use the stuff in inventory that has more than that," but
10:40AM   24     they set the level in 2017 at 800,000 parts per trillion.
10:40AM   25                MR. OLSEN:     Rather than addressing back and forth, I
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10:40AM   1      mean, Mr. Jackson says the science has evolved to establish
10:40AM   2      these lower numbers.      The defense vehemently disagrees with
10:41AM   3      that.
10:41AM   4                 THE COURT:     That's why we're going to have a science
10:41AM   5      day.
10:41AM   6                 MR. OLSEN:     I was just going to say, I think both
10:41AM   7      sides agree we will address this at science day rather than
10:41AM   8      keep going back and forth as to what the right number is.
10:41AM   9                 THE COURT:     Well, I think it just highlights that
10:41AM   10     everybody's view of this, nobody took a dart out and threw it
10:41AM   11     against a wall.     So someone's view on science may be more
10:41AM   12     persuasive than others.       I think I'm going to have to get to
10:41AM   13     this.
10:41AM   14                       But I make the point about the water districts.
10:41AM   15     Let's say there's this variance between the Department of
10:41AM   16     Defense and the state of New Jersey and epidemiologists, but
10:41AM   17     the water district says, "We have weighed all of this, and we
10:41AM   18     as an entity cannot sell a product that we have deemed at this
10:41AM   19     level to be tainted."      Even though the Department of Defense
10:41AM   20     might say, "Well, we would -- we're willing to use the stuff,"
10:41AM   21     I'm not sure the water district doesn't have a claim.               They
10:41AM   22     don't have to -- they're not bound by the Department of
10:42AM   23     Defense's -- which has maybe some very important military
10:42AM   24     purposes and so forth that justify the use of this.              I mean,
10:42AM   25     you got a jet fuel fire on an aircraft carrier, you got one
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10:42AM   1      heck of a problem, and so there may be real justifications for
10:42AM   2      the military willingness to use it, but not sufficient to make
10:42AM   3      a water district in Colorado use it.           You know, I mean, those
10:42AM   4      are really two different factors.
10:42AM   5                        But I'm hoping early on that we can at least
10:42AM   6      come to understand why these numbers are so greatly different
10:42AM   7      and what are the underlying presumptions.            Everybody is making
10:42AM   8      presumptions, right?      They're taking data, and they're
10:42AM   9      extrapolating from known data.          Where exactly are those pivot
10:42AM   10     points?   And I'd like to know where they are.            Where are people
10:42AM   11     reaching different -- or assuming different points?              So where
10:42AM   12     is the government getting its -- its foam with PFOA or PFOS in
10:43AM   13     it?   Are the defendants still manufacturing it for them?
10:43AM   14                MR. PETROSINELLI:       Yes, the government still needs --
10:43AM   15     the military needs it, so they issue government contracts or
10:43AM   16     purchase orders --
10:43AM   17                THE COURT:     Are there products without those two
10:43AM   18     chemicals in it?
10:43AM   19                MR. PETROSINELLI:       You can make fluorine-free foam,
10:43AM   20     but the government has said, "It doesn't meet our
10:43AM   21     specifications."     So that's the issue.        In other words, there
10:43AM   22     are fluorine-free foams that are used in commercial
10:43AM   23     applications that are used overseas, but for the U.S. Military,
10:43AM   24     they have -- it's actually right in the new mil spec, the one I
10:43AM   25     just mentioned to Your Honor, the 2017 amendment.              It says,
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10:43AM   1      "We're still looking at trying to come up with fluorine-free
10:43AM   2      foams, but none of them is able to meet our specifications.
10:43AM   3                 THE COURT:     And that is to be able to retard fire or
10:43AM   4      whatever, right?
10:43AM   5                 MR. PETROSINELLI:       You know, to put out a certain
10:43AM   6      level of fire in 30 seconds.        You know, if you're on a military
10:43AM   7      airplane and you have a fire that comes up under the airplane,
10:43AM   8      you want it out in 30 seconds, not three minutes, which is what
10:43AM   9      it takes with fluorine-free foams.          And so there -- I think --
10:44AM   10     I don't think there's any disagreement that there is no foam
10:44AM   11     that is fluorine-free that can meet the mil specs.
10:44AM   12                THE COURT:     But is there going to be an argument that
10:44AM   13     what you might need on a plane crashing into an aircraft
10:44AM   14     carrier might not be the same thing you need in an airport in
10:44AM   15     the United States on land?        I'm just saying --
10:44AM   16                MR. PETROSINELLI:       It may be, but again with a
10:44AM   17     military base or an FAA airport, they require mil spec foam.
10:44AM   18     You cannot supply them fluorine --
10:44AM   19                THE COURT:     And what is mil spec?
10:44AM   20                MR. PETROSINELLI:       Military specification is the, you
10:44AM   21     know, jargon for what the Naval Research Lab came out with to
10:44AM   22     say that if you're going to sell foam to the United States
10:44AM   23     Government or an FAA airport, it must meet this specification.
10:44AM   24                THE COURT:     Okay.    Y'all need to be able to address
10:44AM   25     all of that, about what alternatives there are and so forth.
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10:45AM   1                        And we need to, you know -- obviously another
10:45AM   2      piece of the evidence is going to be -- in discovery is who
10:45AM   3      knew what when, and what they did do?            What the disclosure was?
10:45AM   4      What the government knew already?           What the government learned?
10:45AM   5      Et cetera.
10:45AM   6                        Okay.   I've gone through my list.          First from
10:45AM   7      the plaintiffs, Mr. Thompson, anything else plaintiffs' counsel
10:45AM   8      wishes to raise?
10:45AM   9                 MR. THOMPSON:      Your Honor, we have completed our
10:45AM   10     agenda.   I had mentioned to Blaise that there was a
10:45AM   11     representative from Grant and Eisenhofer who wanted to address
10:45AM   12     the Court about CMO 3 briefly.
10:45AM   13                THE COURT:     Okay.
10:45AM   14                MR. THOMPSON:      Wanted to place a statement on the
10:45AM   15     record.
10:45AM   16                THE COURT:     Okay.    Let me go to Mr. Petrosinelli
10:45AM   17     first.    Anything further from the defense?
10:45AM   18                MR. PETROSINELLI:       Nothing further from the defense.
10:46AM   19                THE COURT:     Yes.
10:46AM   20                MS. VETTER:     Good morning, Your Honor.          My name is
10:46AM   21     Viola Vetter.
10:46AM   22                THE COURT REPORTER:          I'm sorry, could you come up to
10:46AM   23     the microphone, please?
10:46AM   24                THE COURT:     Come to the microphone, yes.           If you
10:46AM   25     could state your name please.
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10:46AM   1                 MS. VETTER:     Sure.    It's Viola Vetter.
10:46AM   2                 THE COURT:     Yes.
10:46AM   3                 MS. VETTER:     With Grant and Eisenhofer.          We are
10:46AM   4      counsel to the state of Ohio.
10:46AM   5                 THE COURT:     Yes.
10:46AM   6                 MS. VETTER:     We just wanted to raise really briefly
10:46AM   7      an issue of concern for the state, and we just want to make
10:46AM   8      sure it's out there, the Court's aware of it, just so there's
10:46AM   9      no surprise to the extent we do file a formal objection.
10:46AM   10                THE COURT:     Okay.
10:46AM   11                MS. VETTER:     So in brief, the state of Ohio has some
10:46AM   12     concerns about the amount of the attorney fee holdback that's
10:46AM   13     included in CMO 3.     The state of Ohio ultimately believes its
10:46AM   14     damages claims in this case will be comparatively large, and
10:46AM   15     with that potential payment of attorney's fees would also be
10:46AM   16     comparatively large and in the state's view potentially too
10:47AM   17     large, and so we just wanted to raise this issue.              It's the
10:47AM   18     state's intention to work with co-lead counsel to the extent
10:47AM   19     we're able to on a potential exception or workaround, and we
10:47AM   20     would only address it with the Court if it's absolutely
10:47AM   21     necessary.
10:47AM   22                THE COURT:     Let me say this.       Number 1, you're doing
10:47AM   23     exactly what you need to do, which is to raise it with the
10:47AM   24     Plaintiffs' Executive Committee, and a holdback is not a final
10:47AM   25     determination.    It is simply a holdback.         There will be -- if
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10:47AM   1      there's a recovery at the end, the reasonableness of fees would
10:47AM   2      be a subject of discussion.         And I don't intend to rubber stamp
10:47AM   3      anything, and if at that time Ohio feels like the recovery is
10:47AM   4      excessive and unreasonable in light of the result, then that
10:47AM   5      would be -- seems to me the time, so you're not committing
10:47AM   6      yourself to that is the absolute award, because -- am I correct
10:48AM   7      on that, Mr. London, that that's the way the system -- the
10:48AM   8      thing is designed?
10:48AM   9                 MR. LONDON:      That's correct, Your Honor.          Absolutely.
10:48AM   10                THE COURT:      It's just a holdback now so that money
10:48AM   11     doesn't go out and then you have to go claw money back in to
10:48AM   12     get the fee.      But let me say this.       To the extent there's a
10:48AM   13     very large recovery brought about by these -- this Plaintiff
10:48AM   14     Executive Committee, if you had a complaint they're getting
10:48AM   15     paid too much, as my grandmother used to say, "You should have
10:48AM   16     such problems."     And, you know, the basis of a contingency fee
10:48AM   17     is that it rewards effort, and it rewards talent and rewards
10:48AM   18     result.   Yes, at times it can be completely out of proportion
10:48AM   19     to what it should be, and I don't hesitate if I think we
10:48AM   20     reached that that we will -- that I wouldn't allow it.                And --
10:49AM   21     but I think at this point if you feel urgency, you can file a
10:49AM   22     motion now about it.       I will tell you that my view of it is
10:49AM   23     it's just a temporary holding of funds so that later we can
10:49AM   24     make the determination.        I assure you I would hear out for Ohio
10:49AM   25     and everybody else who would question a proposed fee.                Of
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10:49AM   1      course, the plaintiffs haven't even asked for a fee yet, so we
10:49AM   2      don't know what they -- they may surprise you and actually show
10:49AM   3      restraint.    I wouldn't count on it, but -- but that's also
10:49AM   4      possible, okay?    But thank you.
10:49AM   5                  MS. VETTER:    Thank you very much, Your Honor.
10:49AM   6                  THE COURT:    Yes.
10:49AM   7                  MS. VETTER:    I understand it's a fluid situation.
10:49AM   8                  THE COURT:    Yes.    Thank you.
10:49AM   9                  MS. VETTER:    We just wanted to make sure we bring it
10:49AM   10     to your attention in a timely fashion.
10:49AM   11                 THE COURT:    You've been heard on it, okay?          Yes.
10:49AM   12                 MS. VETTER:    Thanks very much.
10:49AM   13                 THE COURT:    Thank you.      Anything further?
10:49AM   14                 MR. THOMPSON:     Well, Judge, after listening to
10:49AM   15     Mr. Petrosinelli, I'm thinking that they don't think we're
10:49AM   16     going to get any fee out of this at all, but --
10:49AM   17                 THE COURT:    Yeah, he wasn't complaining about the
10:49AM   18     holdback.    He wasn't worried about it at all.
10:50AM   19                 MR. PETROSINELLI:      X percent of zero is zero.
10:50AM   20                 MR. THOMPSON:     Judge, you've determined a trillion,
10:50AM   21     and I have tried to get my mind around what a trillion is,
10:50AM   22     and --
10:50AM   23                 THE COURT:    Don't fall in love with that number
10:50AM   24     regarding your fee award.
10:50AM   25                 MR. THOMPSON:     Well, I was thinking, and a trillion
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10:50AM   1      liters of water makes a cubic kilometer of water.              That's what
10:50AM   2      -- and that is --
10:50AM   3                 THE COURT:     Well, I read in one of the articles y'all
10:50AM   4      gave me that -- and I don't remember which side -- that 70
10:50AM   5      parts per trillion was the equivalent to one drop of PFOS in a
10:50AM   6      swimming pool 100 yards long and 43 feet deep.             That's how much
10:50AM   7      one 70 per trillion is.       It's a very small amount.         Tells you
10:50AM   8      something that everybody seems to recognize, that at some
10:50AM   9      higher -- at some level, it is a very potent and potentially
10:51AM   10     toxic chemical.     So what it is actually, you know, and whatever
10:51AM   11     the number is is fine.      It's just a question at what point does
10:51AM   12     it have a material effect on human health?            And that's
10:51AM   13     something I really want -- I want everybody to address, and I
10:51AM   14     got a feeling, as our Ohio lawyer just mentioned, it's a very
10:51AM   15     dynamic thing here.     This whole case is very dynamic, and we
10:51AM   16     got -- we all have a lot to learn.
10:51AM   17                       Now, Mr. Thompson facilitated this wonderful
10:51AM   18     reception last evening at the Bennett Hotel, and I believe the
10:51AM   19     ball passes to the defense counsel to find an equally
10:51AM   20     spectacular location, and that seems to me Mr. Duffy's special
10:51AM   21     role here will be as a local to meet that challenge.
10:51AM   22     Mr. Duffy, are you up for such a challenge?
10:51AM   23                MR. DUFFY:     Well, Your Honor, we would cede the title
10:52AM   24     to Mr. Thompson if he'd like to take it.           But I will do my
10:52AM   25     best.
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10:52AM   1                 THE COURT:     Good.    Okay.    If nothing further, this
10:52AM   2      hearing is adjourned.      Thank you.
10:52AM   3
10:52AM   4
10:52AM   5
10:52AM   6
10:52AM   7
10:52AM   8                                  * * * * * * * *
10:52AM   9                                     CERTIFICATE
10:52AM   10                I, Tana J. Hess, CCR, FCRR, Official Court Reporter
10:52AM   11     for the United States District Court, District of South
10:52AM   12     Carolina, certify that the foregoing is a true and correct
10:52AM   13     transcript, to the best of my ability and understanding, from
10:52AM   14     the record of proceedings in the above-entitled matter.
10:52AM   15
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10:52AM
10:52AM   17                                     ____________________________
10:52AM                                          Tana J. Hess, CRR, FCRR, RMR
10:52AM   18                                     Official Court Reporter
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